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                                                                                              CL-2023-0014661

                                                                                               John T. Frey
VIRGINIA:                                                                                CLERK, CIRCUIT COURT
                                                                                              FAIRFAX, VA
                       IN THE CIRCUIT COURT FOR FAIRFAX COUNTY

 F2E HOLDINGS LLC
 4094 Majestic Lane, # 355                   *
 Fairfax, Virginia 22033
                                             *
        ex rel.
                                             *
 MISSION INTEGRATED
 TECHNOLOGIES, LLC,                          *
 1934 Old Gallows Road, Suite 402
 Vienna, Virginia 22182                      *

                                             *    Case No.:
        Plaintiff,
                                             *
                  v.
                                             *

 TIMOTHY G. CLEMENTE,                        *
 498 Fleshman Creek Road
 Livingston, Montana 59047                   *

        and                                  *

 JOSHUA R. CLEMENTE,                         *
 1129 Denfield Street, Unit B
 Austin, Texas 78721                         *

        Defendants.                          *

 *      *         *      *      *     *      *      *         *    *      *       *      *

                                          COMPLAINT

       Plaintiff, Mission Integrated Technologies, LLC (“MIT”), by and through F2E Holdings,

LLC (“F2E”), files this derivative action seeking monetary damages and injunctive relief for the

various wrongful acts committed by one of MIT’s officers and members, Defendant Timothy G.

Clemente (“Tim”), and his son, Defendant Joshua R. Clemente (“Josh”) (collectively,

“Defendants”). In support of this Complaint, MIT alleges as follows:
                                    NATURE OF THE ACTION

1.       MIT seeks monetary and injunctive relief from Tim and Josh for the following causes of

action: breach of fiduciary duties (Count I – against Tim); misappropriation of trade secrets (Count

II – against Tim and Josh); business conspiracy (Count III – against Tim and Josh); unjust

enrichment (Count IV – against Josh); common-law fraud (Count V – against Tim); and breach

of contract (Count VI – against Josh; Count VII – against Tim).

2.       This is a derivative action under DEL. CODE ANN. §§ 18-1001, et seq., brought on behalf

of MIT by one of its two members, F2E. Efforts to cause MIT to bring this action directly would

be futile because this action alleges liability and seeks monetary and injunctive relief against

MIT’s President and only other member, Tim Clemente, and Tim’s son, Josh Clemente.

                                               PARTIES

3.       MIT is a Delaware limited liability company with its principal place of business in Vienna,

Virginia. MIT’s business is the design, manufacture, marketing, and distribution of a variety of state-

of-the-art tactical and rescue products for law-enforcement, fire-rescue, and military customers around

the world. MIT’s primary product is the Articulating Rapid Entry System (“ARES”), a vehicle-

mounted articulating stairway capable of delivering response forces quickly and precisely during crisis

scenarios.

4.       F2E is a Delaware limited liability company with its principal place of business in Fairfax,

Virginia. F2E is a private investment company with business interests in a variety of industries. F2E

has been a member of MIT since its founding in 2013. F2E owned approximately 75% of MIT’s

membership units at its founding. F2E currently owns approximately 81% of MIT’s membership

units.




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5.      Tim is a resident and citizen of Montana. Tim is and has been a member of MIT since its

founding in 2013. Tim owned approximately 25% of MIT’s membership units at its founding. He

currently owns approximately 13% of MIT’s membership units.

6.      Josh is a resident and citizen of Texas. Josh assisted Tim on the ARES design for the

benefit of MIT. Josh is Tim’s son.

                                  JURISDICTION AND VENUE

7.      This Court has personal jurisdiction over Tim pursuant to VA. CODE ANN. § 8.01-328.1

because he conducted and continues to conduct business in Virginia on behalf of MIT. In addition,

MIT’s operating agreement provides that its members “agree to submit to the jurisdiction of the

[Commonwealth] of Virginia.”

8.      This Court has personal jurisdiction over Josh pursuant to VA. CODE ANN. § 8.01-328.1

because he assisted Tim in performing work for the benefit of MIT in Virginia; he delivered work

product to MIT in Virginia; he sent at least one invoice to MIT in Virginia; he regularly directed

communications to MIT in Virginia; he signed at least one contract on behalf of MIT that call for

disputes to be resolved in Virginia; and he entered into at least one contract with MIT that calls for

disputes to be resolved in Fairfax, Virginia.

9.      This Court has subject-matter jurisdiction over this lawsuit pursuant to VA. CODE Ann.

§ 17.1-513.

10.     Venue is proper pursuant to VA. CODE Ann. §§ 8.01-261 and/or 8.01-262 because MIT’s

operating agreement provides that “any legal action or proceeding shall be brought in the courts

of the State of Virginia, in Fairfax County.” In addition, each of the parties to this lawsuit

regularly transacted business in Fairfax County at times relevant to this lawsuit.




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                                   FACTUAL BACKGROUND

                                       The Formation of MIT

11.     On or about October 7, 2013, F2E and Tim entered into the Operating Agreement of Mission

Integrated Technologies, LLC (the “MIT Operating Agreement”). A true and accurate copy of the

MIT Operating Agreement is attached as Exhibit A. Before that date, the company operated under

the name Assault Rescue Elevated System, LLC.

12.     MIT’s stated business purpose under the MIT Operating Agreement is to design,

manufacture, market, and distribute a variety of state-of-the-art tactical and rescue products to law-

enforcement, fire-rescue, and military customers around the world, with its “premier products” being

“articulating vehicle-based assault and rescue systems, such as the ARES.”

13.     A true and accurate photograph of the current ARES model is below:




14.     At MIT’s inception, F2E owned approximately 75% and Tim owned approximately 25%

of MIT.

15.     F2E and Tim initially agreed that F2E would own 80% and Tim would own 20% of MIT.

At Tim’s request, F2E agreed to increase Tim’s share by 5% with the understanding that

individuals who would be assisting Tim in the development of the ARES system on behalf of




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MIT would be compensated with ownership in MIT that was to be taken from Tim’s additional

5% share.

16.    MIT is a member-managed LLC. MIT’s members designated Tim to serve as the company’s

President with authority “only as Approved by the Members.”

                        Relevant MIT Operating Agreement Provisions

17.    Section 15(J) of the MIT Operating Agreement provides that it “shall be governed by, and

interpreted in accordance with, the laws of the State of Delaware.”

18.    The MIT Operating Agreement describes the powers of MIT’s members. Section 3(D)

provides that “[n]o Member or Financial Interest Holder has the authority or power to act for or

on behalf of, to bind, or to incur any liability on behalf of the LLC except as specifically

provided in this [Operating] Agreement.” Section 7(A) provides that “[a]ll decisions taken by the

Members unless otherwise specifically stated herein shall require an affirmative vote or written

consent of the Members.” Section 7(A) further provides that “[n]o person may act unilaterally

on behalf of the LLC absent the approval of a majority of the Members.”

19.    Section 14(A) of the MIT Operating Agreement provides that “as long as any Member

remains a nominal or beneficial interest holder in the LLC, and for a period of two (2) years

thereafter, no Member shall directly or indirectly (e.g., through an affiliate of any Member), engage

in any activities within the scope of the Business of the LLC without the Approval of the Members.”

20.    Section 14(B) of the MIT Operating Agreement provides that “all intellectual property,

including but not limited to names, trade names, internet domains, inventions, designs, drawings,

formulae, recipes, discoveries, concepts, ideas, know-how, information, developed or conceived

inventions, and improvements, either patentable or not, and either contributed to the LLC by the

Members or developed or improved by the LLC is owned at all times by the LLC.” It further provides




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that “all domain names, trade names, data and software associated with the Mission Integrated

Technologies or Assault Rescue Elevated System concepts . . . belong exclusively to, and to the extent

required, are assigned to, the LLC.” It further provides that “[a]ll past and future inventions and

contributions made by the Members related to the Mission Integrated Technologies and Assault

Rescue Elevated Systems projects shall be deemed work for hire and shall belong exclusively to the

LLC, unless otherwise waived by Approval of the Members.”

21.     Section 7(B) of the MIT Operating Agreement provides that MIT’s members may designate

“a Manager, President, Vice President, Secretary, and/or Treasurer” who “shall have the general

powers and duties of management typically vested in the office of president, vice-president,

secretary or treasurer of a limited liability company, as applicable, and such other powers and duties

as may be prescribed by the Members.”

22.     The MIT Operating Agreement defines the fiduciary duties of loyalty and care applicable to

MIT’s officers. Section 7(D) provides that each of MIT’s officers “shall exercise all powers and

duties entrusted to him, her, or it, in the matters such person, individually or on behalf of an entity,

believes in good faith to be in the best interest of the LLC, using a standard of care as a person in a

like position would use under similar circumstances, including reasonable inquiry and ordinary

prudence.”

                         Circumstances Leading to Josh’s Work on ARES

23.     Tim advocated for Josh to assist him on the ARES design, since Tim is not an engineer and

Josh has a background in mechanical engineering. Although F2E preferred to engage a professional

engineering firm, Tim prevailed upon F2E that MIT would have greater control over the design and

development of ARES by having his son assist him instead of a professional engineering firm.




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24.    Following Tim’s recommendation, F2E agreed to allow Tim to use Josh and another

individual, Kenneth Fournier (“Fournier”), to perform engineering design services for MIT under

Tim’s supervision. F2E and Tim agreed that Josh and Fournier would be compensated for assisting

Tim with a 5% ownership interest in MIT to be taken from Tim’s 25% share of the company

(thereby reducing Tim’s ownership to 20% and maintaining F2E’s ownership at 75%).

      False Representations Regarding Non-Disclosure & Non-Circumvention Agreement

25.    F2E agreed to allow Josh and Fournier to assist Tim on the ARES design in reliance on

representations by Tim that each of them would, and in fact did, sign MIT’s standard non-disclosure

and non-circumvention agreement, which protected MIT’s rights and interests in confidential

information provided to or developed by Josh and Fournier in the course of their work. F2E’s

agreement to allow Josh and Fournier to assist Tim in performing work for MIT on ARES was

contingent on Josh and Fournier each signing such a non-disclosure and non-circumvention

agreement.

26.    Tim knew that F2E’s agreement to allow Josh and Fournier to assist him in performing work

for MIT on ARES was contingent on MIT obtaining the aforementioned non-disclosure and non-

circumvention agreements. In numerous conversations both before and after MIT’s formation,

F2E’s owner, Fahmi Alubbad (“Alubbad”), routinely emphasized to Tim the importance of

protecting the company’s intellectual property, including trade secrets and other confidential business

information. Tim also was aware of Alubbad’s strict practice of requiring business associates to sign

non-disclosure and non-circumvention agreements before giving them access to trade secrets and

other confidential business information. To wit, Alubbad, through another company he owned

(Atlantis Consultants Limited Corporation (“Atlantis”)), required Tim to sign a non-disclosure and

non-circumvention agreement before sharing information with Tim during the business discussions




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leading to the formation of MIT and its predecessor company. A true and accurate copy of the non-

disclosure and non-circumvention agreement between Atlantis and Tim is attached as Exhibit B.

27.     Tim knew that if Alubbad were aware that an individual or entity had access to MIT’s trade

secrets and other confidential business information without being subject to a non-disclosure and

non-circumvention agreement, F2E would insist that MIT immediately terminate that person’s

access and remove them from the ARES project.

28.     On or about August 7, 2013, Tim reported to Alubbad that Josh was “filling out the [non-

disclosure and non-circumvention agreement] and will email the signed cop[y] back to you.”

29.     Contrary to Tim’s representation, Josh did not email a signed copy of the non-disclosure and

non-circumvention agreement to F2E.

30.     Tim nevertheless represented to F2E on multiple occasions that he had obtained a signed

non-disclosure and non-circumvention agreement from Josh.

31.     Tim further represented to F2E that the agreement Josh purportedly signed included non-

disclosure obligations, duties to maintain the confidentiality of trade secrets and other confidential

business information for the benefit of MIT, and duties to provide and/or return such information to

MIT upon request.

32.     Tim has never provided a copy of Josh’s signed non-disclosure and non-circumvention

agreement to F2E, despite multiple requests from F2E that he do so. Tim has represented to F2E

that he lost the signed non-disclosure and non-circumvention agreement at some point when his

computer was damaged.

33.     Upon information and belief, Tim never obtained a signed non-disclosure and non-

circumvention agreement from Josh, contrary to his representations to F2E.




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34.    In or about April 2022, the members of MIT approved replacement non-disclosure and non-

circumvention agreements to be given to both Josh and Fournier. Each replacement agreement

contained a mutual acknowledgement that the parties had previously executed a non-disclosure and

non-circumvention agreement dated June 6, 2013, and that the June 2013 non-disclosure and non-

circumvention agreement subsequently was lost. Each replacement agreement also included a

certification that Josh and Fournier had returned all of MIT’s proprietary information, including trade

secrets and other confidential business information, and had not shared such information with any

unauthorized third parties. True and accurate copies of the replacement non-disclosure and non-

circumvention agreements approved by the members of MIT are attached as Exhibits C & D.

35.    F2E and Tim agreed that Tim was to present the replacement non-disclosure and non-

circumvention agreements to both Josh and Fournier on behalf of MIT.

36.    Tim presented Fournier with the replacement non-disclosure and non-circumvention

agreement that had been approved by the members of MIT. Tim obtained Fournier’s signature on

the agreement in July 2022.

37.    Tim represented to F2E that Josh also had signed the replacement non-disclosure and non-

circumvention agreement that had been approved by the members of MIT.

38.    Tim’s representation that Josh had signed the replacement non-disclosure and non-

circumvention agreement that had been approved by the members of MIT was false. When F2E

reviewed the agreement Josh had signed, F2E discovered that it differed materially from the

agreement that had been approved by F2E and Tim.

39.    Unbeknownst to, and without the approval of, F2E, Tim had substantially and materially

altered the replacement agreement Josh signed so that it only provided MIT with prospective

confidentiality protections beginning in June 2022. Unbeknownst to, and without the approval of,




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F2E, Tim removed any provision that applied to Josh’s conduct between June 6, 2013—the

purported date of the original non-disclosure and non-circumvention agreement—and the date of the

replacement agreement. A true and accurate copy of the purported replacement non-disclosure and

non-circumvention agreement signed by Josh is attached as Exhibit E.

40.    Tim never required Josh to sign the replacement non-disclosure and non-circumvention

agreement approved by the members of MIT.

            July 2022 Agreement Transferring MIT Membership Units to Fournier

41.    On or about April 18, 2017, in exchange for additional financial contributions by F2E to

MIT, Tim transferred six of his membership units in MIT to F2E. After the transfer, F2E owned

approximately 81% and Tim owned approximately 19% of MIT.

42.    On or about July 27, 2022, MIT, F2E, Tim, and Fournier executed an agreement under which

Tim transferred six of his remaining membership units to Fournier (the “July 2022 Agreement”). A

true and accurate copy of the July 2022 Agreement is attached as Exhibit F. As a result of the July

2022 Agreement, the current ownership structure of MIT is as follows: F2E owns approximately

81%; Tim owns approximately 13%; and Fournier owns approximately 6%.

43.    Under § 6(ii) of the July 2022 Agreement, Tim and Fournier represented and warranted

that they had turned over to MIT all confidential business information of MIT, including but not

limited to all information relating to the design and manufacture of the ARES system.

44.    Under § 6(iii) of the July 2022 Agreement, Tim and Fournier represented and warranted

that they would destroy or erase all remaining electronic copies of MIT’s confidential business

information in their possession.




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45.    Under § 6(v) of the July 2022 Agreement, Tim and Fournier represented and warranted

that there were no facts in their knowledge, or that reasonable should be in their knowledge, that

would render any of their representations and warranties in the July 2022 Agreement misleading.

46.    Tim’s representations in §§ 6(ii) and 6(iii) of the July 2022 Agreement were false. At the

time Tim signed the July 2022 Agreement, Tim had neither turned over any confidential business

information to MIT nor destroyed all remaining copies of MIT’s confidential business

information in his possession.

       Josh’s Work on ARES and False Statements About His Relationship with MIT

47.    Beginning in 2013, Josh worked under Tim’s supervision to assist him on the design,

development, and production of the initial ARES model. Josh performed mechanical engineering

and design work on ARES, including the design of foundational mechanisms, kinetic math

calculations, structural hand calculations, stress analyses, and finite element analyses.

48.    In connection with Josh’s work on ARES, Tim provided Josh with access to MIT’s trade

secrets and other confidential business information relating to ARES, including but not limited to the

product concept, functional capabilities, conceptual designs, and potential customers identified by

F2E.

49.    F2E allowed Tim to provide Josh with access to MIT’s trade secrets and other confidential

business information in reliance on Tim’s representations to F2E that Josh had signed a non-

disclosure and non-circumvention agreement that protected MIT’s rights and interests in such

information.

50.    Among the types of confidential business information provided to Josh by Tim were ARES

concepts and capabilities first developed for F2E, including a wireless touchscreen controller.




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51.    Josh was never an officer or member of MIT. Unbeknownst to F2E, however, Josh held

himself out to third parties and entered into at least one contract on behalf of MIT purportedly as

MIT’s Vice President of Engineering. Josh did so without any written employment or

engagement agreement with MIT and without the knowledge or approval of F2E, MIT’s

majority member.

52.    Upon information and belief, Tim knew that Josh was holding himself out to third parties

and entered into at least one contract on behalf of MIT as a purported officer of MIT without the

knowledge and approval of F2E, MIT’s majority member. Tim took no action to prevent Josh

from doing so.

53.    On the contrary, Tim repeated and promoted Josh’s misrepresentations about his relationship

with MIT and made similar misrepresentations about Tim’s own relationship with MIT.

54.    In or about 2017, Tim registered a website for MIT in his own name. Tim maintained

exclusive access and control over MIT’s website until at least September 2022, despite repeated

requests from F2E that Tim provide F2E with access to and control over the website.

55.    From 2017 until at least September 2022, Tim identified himself on MIT’s website as MIT’s

CEO and Josh as MIT’s Vice-President of Engineering, even though Tim was not MIT’s CEO and

Josh was never an officer or member in MIT.

56.    From 2017 until at least September 2022, Tim also represented to the public on MIT’s

website that Tim and Josh were the sole designers and inventors of ARES, even though other

individuals and entities also were materially involved with the design. Tim also made other false

statements about ARES and MIT on MIT’s website.

57.    As of the date of this Complaint, Tim continues to represent to the public on his personal

website that he is the inventor and manufacturer of ARES.




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                         Tim and Josh’s Scheme to Misappropriate
                MIT’s Confidential Information and Intellectual Property Rights

58.       Upon information and belief, in or about 2015, Tim and Josh formed a common scheme to

wrongfully establish control over MIT’s confidential business information and intellectual property

rights.

59.       On or about January 28, 2015, Tim filed a provisional patent application in which Tim

and Josh claimed to be the sole inventors of the initial version of ARES. No further action was

taken on the provisional patent application filed by Tim in January 2015.

60.       On November 20, 2018, however, Josh filed another provisional patent application in which

he claimed to be the sole inventor of the initial version of ARES. Josh did so with the knowledge and

approval of Tim, but without the knowledge or approval of F2E.

61.       On November 19, 2019, Josh filed a patent application for the ARES system in which he

named himself as sole inventor. A true and accurate copy of the official record of the November 19,

2019, patent application is attached as Exhibit G. Josh did so with the knowledge and approval of

Tim but without the knowledge or approval of F2E. Josh also did so without assigning ownership of

the patent to MIT.

62.       The U.S. Patent and Trademark Office published Josh’s patent application on its website on

May 21, 2020, and awarded the ARES patent (U.S. Patent No. 11,174,677 B2) to Josh on November

16, 2021 with Josh—not MIT—as the owner. A true and accurate copy of the ARES patent is

attached as Exhibit H. Neither Tim nor Josh made F2E aware of either of those events. F2E learned

of the ARES patent for the first time in or about March 2022 while reviewing an MIT investor

presentation prepared by Tim that mentioned the patent.

63.       F2E never authorized the filing of any patent application for ARES.




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64.    The unauthorized patent applications filed by Josh contained confidential information

about ARES that MIT did not want or expect to be disclosed to the public.

65.    Moreover, Josh’s patent application contained numerous deficiencies that are likely to

invalidate the ARES patent.

66.    Around the same time Josh was acting to obtain a patent for ARES in his own name in

furtherance of his and Tim’s common scheme to misappropriate MIT’s intellectual property

rights, Tim and Josh also took measures to seize control of MIT’s confidential business

information.

67.    In or about 2016, F2E determined that the original ARES concept was not headed in the

right direction and needed to be modified. F2E requested that MIT retain a professional

engineering firm to help work on a new version of ARES, which F2E envisioned being mounted on

an armored vehicle.

68.    F2E identified Lenco Armored Vehicles, Inc. (“Lenco”), a major armored vehicle

manufacturer, to provide the armored vehicle on which the redesigned ARES would be mounted.

MIT and Lenco entered into an agreement under which Lenco provided the armored vehicle free of

charge to assist MIT with marketing the redesigned ARES.

69.    F2E also found two companies to assist MIT with mechanical and computer engineering

tasks on the redesigned ARES: Cardinal Scientific, Inc. (“Cardinal”), and 21st Century Software

Group, Inc. (“21st Century”).

70.    In or about April 2017, MIT entered into a contract with Cardinal. Pursuant to the contract,

Cardinal was given confidential information about ARES by MIT and generated confidential work

product on behalf of MIT. Cardinal was paid for its work by MIT.




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71.    Upon the completion of its work, however, Cardinal returned MIT’s confidential materials

and work product—including 3-D models, shop drawings, photographs, and videos of the ARES

system components—to Josh and Tim.

72.    In or about July 2017, Josh signed a contract purportedly on behalf of MIT with 21st

Century under which 21st Century was tasked with working on the wireless controller and tablet

design for the ARES system. Josh signed the contract in his purported capacity as MIT’s Vice

President of Engineering, even though Josh was not an officer or member of MIT and had no

authority to bind MIT. An initial, unexecuted version of MIT’s contract with 21st Century

provided for Tim to sign on behalf of MIT. Tim modified the contract without F2E’s knowledge

or approval, however, to instead provide for Josh to sign on behalf of MIT.

73.    Pursuant to the contract, 21st Century was given confidential information about ARES by

MIT and generated confidential work product on behalf of MIT. Upon completion of its work,

however, the 21st Century contract that Tim had modified without F2E’s knowledge or approval

required 21st Century to return its work product and MIT’s confidential materials—including the

source code for the ARES control system—only to Josh and not to MIT.

74.    From 2017 until at least September 2022, Tim maintained exclusive access and control over

MIT’s website—which contained numerous false and misleading statements—despite F2E’s repeated

demands that Tim provide F2E with access to and control over the website. Tim also set up an

unauthorized MIT email account and unauthorized MIT social media accounts, over which Tim

maintained exclusive access and control. Until at least September 2022, Tim refused to provide

F2E with access to those accounts despite repeated demands that he do so.

75.    In or about August 2019, one of MIT’s production contractors, IBIS TEK, LLC (“IBIS”),

required certain design, development, and manufacturing information concerning ARES to perform




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its work for MIT. IBIS had been subject to a non-disclosure and non-circumvention agreement with

MIT since 2015 that protected confidential materials provided to IBIS by MIT, but not materials

IBIS received from third parties.

76.    F2E directed both Tim and Josh to provide the requested materials to F2E so they could be

delivered to IBIS on behalf of MIT. Both Tim and Josh ignored F2E’s request.

77.    F2E then engaged an attorney on behalf of MIT to write letters to Tim and Josh demanding

that they supply F2E with the information requested by IBIS. Both Tim and Josh also ignored those

demands.

78.    Instead, without F2E's knowledge or approval, Josh sent MIT’s confidential business

information concerning ARES directly to IBIS, even though Josh was not a member or officer of

MIT and was not authorized to act on behalf of MIT.

79.    Both Josh and Tim have refused to disclose to F2E what specific confidential business

information Josh sent to IBIS.

80.    Tim and Josh have attempted to use their wrongful control over MIT’s confidential

business information and intellectual property rights to extract additional ownership shares in

MIT and other concessions from F2E.

81.    In or about 2015, Tim advised F2E that he wanted to transfer 4% of his membership units

in MIT to Josh and 2% to Fournier. F2E agreed with Tim’s proposal.

82.    Despite F2E’s agreement, however, Tim never transferred any of his membership units in

MIT to Josh or otherwise compensated Josh for Josh’s work assisting Tim on behalf of MIT.

83.    In or about November 2017, MIT demonstrated the redesigned ARES model at the

Milipol Paris defense-industry trade show. The redesigned ARES model received favorable

interest from several international customers.




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84.    Shortly after seeing the market’s favorable reception to the redesigned ARES model, Josh

demanded a 10% ownership interest in MIT. F2E rejected Josh’s demand and advised Josh that

any units of ownership in MIT would need to come exclusively from Tim’s units in the company, in

accordance with F2E’s agreement with Tim at the company’s founding.

85.    Even though F2E would not agree to Josh’s demand for a 10% ownership interest in

MIT, F2E offered Josh full-time employment with MIT. Josh rejected F2E’s offer of full-time

employment.

86.    Tim never transferred any portion of his ownership interests in MIT to Josh.

87.    Instead, in March 2022, immediately after Alubbad discovered that a patent had been

issued to Josh on ARES, Tim proposed an agreement to F2E under which Josh would assign the

ARES patent to MIT in exchange for 5% of the membership units in MIT, without specifying

that the membership units to be given to Josh would be taken from Tim’s (and not F2E’s)

membership units.

88.    Upon information and belief, Tim and Josh had wrongfully amassed control over MIT’s

confidential business information and intellectual property rights for the specific purpose of

extracting that and other concessions from F2E.

89.    F2E did not agree to the agreement proposed by Tim in March 2022.

90.    In or about April 2022, after F2E rejected the agreement proposed by Tim in March 2022,

Tim requested that MIT’s attorney prepare a set of agreements regarding several matters at issue

among MIT, F2E, Tim, Josh, and Fournier. That set of agreements included the July 2022

Agreement.

91.    In connection with the drafting of those new agreements, Tim informed F2E for the first time

that Josh had personally made a payment of $30,000 to 21st Century with Tim’s knowledge and




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approval but without F2E’s knowledge or approval. Neither Tim nor Josh had informed F2E about

that payment, nor have they ever provided MIT with an invoice or any other support for the payment.

92.     F2E contributed funds to MIT for the specific purpose of paying MIT’s contractors,

including 21st Century. Tim was responsible for paying MIT’s contractors, including 21st Century,

with the funds contributed to MIT by F2E.

93.     Around the same time Tim informed F2E that he had allowed Josh to pay 21st Century with

Josh’s own funds, F2E discovered that Tim had used the funds F2E had earmarked for 21st Century

for purported business expenses. Tim has not provided MIT with any documentation to

substantiate those purported business expenses.

94.     Tim’s diversion of the funds F2E had earmarked for 21st Century was done without F2E’s

knowledge or approval.

95.     MIT has undertaken extensive efforts, both directly and through legal counsel, to recover

MIT’s trade secrets and other confidential business information from Tim and Josh. Among the

information MIT has sought to recover are electronic files containing 3D models of ARES; shop

drawings, photographs, and videos of ARES components; source files for the wireless controller

developed for MIT by 21st Century; and other intellectual property.

96.     It was not until December 2022 that Tim agreed to return to MIT, and did in fact return to

MIT, at least some of MIT’s intellectual property, including trade secrets and other confidential

business information. MIT has been unable to confirm whether Tim has returned all such materials in

his possession, custody, or control.

97.     As of the filing of this Complaint, Josh continues to refuse MIT’s demands to (a) disclose the

whereabouts of all of MIT’s intellectual property, including trade secrets and other confidential

business information; (b) return all of MIT’s intellectual property, including trade secrets and other




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confidential business information, in his possession, custody, or control; and (c) identify any

unauthorized third parties to whom any of MIT’s intellectual property, including trade secrets and

other confidential business information, has been disclosed.

                 False Representations Regarding Patent Assignment Agreement

98.     The set of agreements MIT’s attorney prepared in April 2022 included an agreement

regarding the assignment of the ARES patent by Josh to MIT.

99.     The members of MIT approved a patent assignment agreement to be given to Josh under

which Josh would assign the ARES patent to MIT for a nominal payment (the “Patent Assignment

Agreement”). A true and accurate copy of the Patent Assignment Agreement approved by the

members of MIT is attached as Exhibit I.

100.    The members of MIT agreed that Tim was to present the Patent Assignment Agreement to

Josh on behalf of MIT.

101.    Tim represented to F2E that Josh had signed the Patent Assignment Agreement as approved

by the members of MIT.

102.    Tim’s representation that Josh had signed the Patent Assignment Agreement as approved by

the members of MIT was false. When F2E reviewed the patent assignment agreement Josh had

signed, F2E discovered that it differed materially from the Patent Assignment Agreement that was

approved by F2E and Tim.

103.    Unbeknownst to, and without the approval of, F2E, Tim had substantially and materially

altered the patent assignment agreement that Josh ultimately signed. Unbeknownst to, and without

the approval of, F2E, Tim had inserted a provision under which MIT would pay Josh $30,000 as

reimbursement for the funds Josh purportedly had personally paid to 21st Century, as well as up

to $10,000 for patent expenses incurred by Josh, among other unauthorized changes. A true and




                                                   19
accurate copy of the unauthorized patent assignment agreement signed by Josh is attached as

Exhibit J.

                                             COUNT I
                                     Breach of Fiduciary Duties
                                           (Against Tim)

104.    Paragraphs 1 through 103 above are incorporated herein by reference.

105.    The MIT Operating Agreement is a binding and enforceable contract.

106.    F2E has fully performed its obligations under the MIT Operating Agreement.

107.    Section 7(D) of the MIT Operating Agreement specifies the fiduciary duties applicable to

MIT’s officers under Delaware law. It provides that each of MIT’s members and officers “shall

exercise all powers and duties entrusted to him, her, or it, in the matters such person, individually or

on behalf of an entity, believes in good faith to be in the best interest of the LLC, using a standard of

care as a person in a like position would use under similar circumstances, including reasonable

inquiry and ordinary prudence.”

108.    Tim breached his duty of loyalty to MIT by failing to perform his duties as President of

MIT in a manner he believed in good faith to be in the best interest of MIT, as alleged herein.

109.    Tim breached his duty of care to MIT by failing to perform his duties as President of MIT

using the standard of care a person in a like position would use under similar circumstances,

including reasonable inquiry and ordinary prudence, as alleged herein.

110.    Tim breached his fiduciary duties to MIT by, among other wrongful conduct, (a) willfully

disregarding his duty to protect MIT’s intellectual property, including its trade secrets and other

confidential business information; (b) allowing his son, Josh, to improperly possess MIT’s

intellectual property, including its trade secrets and other confidential business information; (c)

empowering his son, Josh, to assert ownership of MIT’s intellectual property, including its trade




                                                   20
secrets and other confidential business information, including by obtaining a patent for ARES in

his own name and without assignment to MIT; (d) refusing to identify or confirm the

whereabouts of MIT’s intellectual property, including its trade secrets and other confidential

business information; (e) willfully registering a website for MIT in his own name rather than in

MIT’s name and refusing to assign his rights to the website to MIT; (f) incurring unauthorized

liabilities on behalf of MIT; (g) engaging in unauthorized activities within the scope of MIT’s

business; and (h) otherwise acting to the detriment of MIT to try to gain financial advantage for

himself and his son, Josh.

111.   MIT has suffered and continues to suffer damages as a result of Tim’s breach of his

fiduciary duties, as alleged herein.

                                          COUNT II
                               Misappropriation of Trade Secrets
                                    (Against Tim and Josh)

112.   Paragraphs 1 through 111 above are incorporated herein by reference.

113.   As a member and officer of MIT, Tim was given access to and use of MIT’s trade secrets,

as that term is defined under the Virginia Uniform Trade Secrets Act (“VTUSA”), VA. CODE ANN.

§§ 59.1-336, et seq.

114.   The trade secrets to which Tim had access to and use of included but were not limited to

concepts, uses, designs, adaptations, costs, and sales information for the ARES system, none of

which are generally known to the public.

115.   At all relevant times, MIT undertook reasonable efforts to maintain the confidentiality of

such information. MIT’s efforts included but were not limited to confidentiality obligations in

the MIT Operating Agreement and strict requirements that employees and independent




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contractors sign non-disclosure and non-circumvention agreements before accessing or using

such information.

116.   Both Tim and Josh knew of MIT’s efforts to maintain the confidentiality of its trade

secrets and other confidential business information.

117.   Upon information and belief, Tim did not require his son, Josh, to sign a non-disclosure

and non-circumvention agreement before accessing and using MIT’s trade secrets and other

confidential business information.

118.   In the alternative, Tim knowingly and willfully refused to require Josh to sign a

replacement non-disclosure and non-circumvention agreement after Tim became aware that MIT

no longer possessed Josh’s initial non-disclosure and non-circumvention agreement with MIT.

119.   Even though Josh was not subject to any non-disclosure and non-circumvention

agreement with MIT, or, in the alternative, was not subject to any non-disclosure and non-

circumvention agreement in MIT’s possession, Tim knowingly and intentionally provided Josh

with access to and the use of MIT’s trade secrets and other confidential business information, as

alleged herein.

120.   Josh intentionally has maintained access to and control over MIT’s trade secrets and

other confidential business information with knowledge that he is not authorized to do so, as

alleged herein.

121.   Josh knowingly and intentionally disclosed MIT’s trade secrets and other confidential

business information to a least one third party with knowledge that he was not authorized to do

so.




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122.      Tim and Josh knowingly and intentionally have exploited their possession and control

over MIT’s trade secrets and other confidential business information to try to extract financial

and other concessions from MIT, as alleged herein.

123.      Tim’s and Josh’s conduct has been willful and malicious, as alleged herein.

124.      MIT has suffered and continues to suffer damages as a result of Tim’s and Josh’s

misappropriation.

                                             COUNT III
                                         Business Conspiracy
                                        (Against Tim and Josh)

125.      Paragraphs 1 through 124 above are incorporated herein by reference.

126.      Tim and Josh combined, associated, agreed, mutually undertook, and/or concerted together

to injure MIT’s reputation, trade, business, or profession by misappropriating MIT’s intellectual

property, trade secrets, and other confidential business information, as alleged herein.

127.      Tim’s and Josh’s conduct was and continues to be willful and malicious, as alleged

herein.

128.      MIT has suffered and continues to suffer damages as a result of Tim’s and Josh’s

conduct, as alleged herein.

129.      Tim and Josh are liable to MIT under Virginia’s business conspiracy statute, VA. CODE

ANN. §§ 18.2-499, et seq., as alleged herein.

                                             COUNT IV
                                          Unjust Enrichment
                                            (Against Josh)

130.      Paragraphs 1 through 129 above are incorporated herein by reference.

131.      Josh has no legal right to possess, use, or retain MIT’s intellectual property, including its

trade secrets and other confidential business information, as alleged herein.




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132.    Despite having no legal right to possess, use, or retain MIT’s intellectual property, Josh

filed a patent application in which he falsely represented that he was the sole inventor of the

ARES design, as alleged herein.

133.    Despite Josh having no legal right to possess, use, or retain MIT’s intellectual property,

the U.S. Patent and Trademark Office awarded Josh a patent on the ARES system. Josh

continues to assert sole ownership of that patent.

134.    Josh continues to possess and use MIT’s intellectual property, including its trade secrets and

other confidential business information, despite having no legal right to do so, as alleged herein.

135.    Josh has been unjustly enriched by the value and use of MIT’s intellectual property,

including its trade secrets and other confidential business information, as alleged herein.

136.    It would be inequitable for Josh to retain the benefits derived from his possession and use

of MIT’s intellectual property, including its trade secrets and other confidential business information,

without compensating MIT, as alleged herein.

                                            COUNT V
                                        Common-Law Fraud
                                          (Against Tim)

137.    Paragraphs 1 through 136 above are incorporated herein by reference.

138.    Tim represented to F2E on numerous occasions that Josh had executed a non-disclosure

and non-circumvention agreement that protected MIT’s intellectual property, including its trade

secrets and other confidential business information, as alleged herein.

139.    Upon information and belief, Tim’s representations that Josh had executed a non-

disclosure and non-circumvention agreement that protected MIT’s intellectual property,

including its trade secrets and other confidential business information, were false.




                                                   24
140.   Upon information and belief, Tim made the aforementioned representations with actual

knowledge of their falsity or with reckless indifference to their truth, as alleged herein.

141.   Tim made the aforementioned representations to induce MIT to authorize Tim to engage

Josh to assist him in performing work on the ARES system, as alleged herein.

142.   Tim made the aforementioned representations to induce MIT to allow Josh to access and

use MIT’s intellectual property, including its trade secrets and other confidential business

information relating to ARES, as alleged herein.

143.   MIT specifically relied on Tim’s false representations in authorizing Tim to have Josh

assist him in performing work on the ARES system, as alleged herein.

144.   MIT specifically relied on Tim’s false representations in allowing Josh to access and use

MIT’s intellectual property, including its trade secrets and other confidential business

information relating to ARES, as alleged herein.

145.   MIT has suffered and continues to suffer damages as a direct and proximate result of

Tim’s false representations, as alleged herein.

                                           COUNT VI
                                       Breach of Contract
                            (Alleged in the Alternative Against Josh)

146.   Paragraphs 1 through 145 above are incorporated herein by reference.

147.   Josh entered into a non-disclosure and non-circumvention agreement with MIT in 2013

that protected MIT’s intellectual property, including its trade secrets and other confidential

business information (the “2013 NDA”), as alleged herein.

148.   The 2013 NDA is a binding and enforceable contract.

149.   MIT has fully performed its obligations under the 2013 NDA.




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150.      Under 2013 NDA, Josh agreed that all information provided by or developed for MIT,

including information about the ARES system, was the exclusive property of MIT. Josh further

agreed to assign to MIT any rights he otherwise could claim in such information.

151.      The 2013 NDA obligated Josh to maintain the confidentiality of trade secrets and other

confidential business information provided by or developed for MIT and to provide and/or return

such information to MIT upon request.

152.      Josh breached the 2013 NDA by, among other wrongful conduct, (a) asserting a personal

interest in MIT’s intellectual property; (b) publishing aspects of the ARES design without

authorization; (c) otherwise disclosing MIT’s intellectual property, including its trade secrets and

other confidential business information, to at least one third party; and (d) refusing to return

and/or destroy MIT’s intellectual property, including its trade secrets and other confidential

business information.

153.      MIT has suffered and continues to suffer damages as a result of Josh’s breaches, as

alleged herein.

                                            COUNT VII
                                         Breach of Contract
                                           (Against Tim)

154.      Paragraphs 1 through 153 above are incorporated herein by reference.

155.      The July 2022 Agreement is a binding and enforceable contract, as alleged herein.

156.      MIT has fully performed its obligations under the July 2022 Agreement, as alleged

herein.

157.      Tim represented and warranted in § 6(ii) of the July 2022 Agreement that he had returned

to MIT all confidential business information of MIT, including but not limited to all information

regarding the design and manufacture of the ARES system.




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158.   Tim represented and warranted under § 6(iii) of the July 2022 Agreement that he would

destroy or erase all remaining copies of MIT’s confidential business information in his

possession.

159.   Tim represented and warranted in § 6(v) of the July 2022 Agreement that there were no

facts in his knowledge, or that reasonably should be in his knowledge, that would render

misleading any of his other representations in the July 2022 Agreement.

160.   Tim’s representations in the July 2022 Agreement were false. At the time Tim executed

the July 2022 Agreement, he had not returned MIT’s confidential business information and

destroyed and/or deleted any remaining copies in his possession, as alleged herein.

161.   MIT suffered damages as a result of Tim’s breaches, as alleged herein.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Mission Integrated Technologies, LLC, by and through F2E

Holdings, LLC, respectfully requests that this Court enter judgment in its favor and award the

following relief:

       A.      Three times its actual damages, in an amount to be proven at trial, for which Tim

               and Josh shall be jointly and severally liable;

       B.      Incidental and consequential damages, in an amount to be proven at trial, for

               which Tim and Josh shall be jointly and severally liable;

       C.      Punitive damages in an amount not to exceed twice any award made at trial under

               VA. CODE ANN. § 59.1-338(A), for which Tim and Josh shall be jointly and

               severally liable;

       D.      Additional punitive damages against Tim in an amount to be determined at trial;




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E.   An injunction against Tim (a) prohibiting Tim from any future access to or use of,

     directly or indirectly, MIT’s intellectual property, trade secrets and other

     confidential business information; and (b) prohibiting Tim from engaging in any

     other conduct that violates his contractual and fiduciary duties to MIT;

F.   An injunction against Josh (a) requiring Josh to transfer to MIT all rights to,

     ownership in, and access to all of MIT’s intellectual property, trade secrets, and

     other confidential business information, including but not limited to the ARES

     patent; (b) requiring Josh to return to MIT all of MIT’s intellectual property, trade

     secrets, and other confidential business information in his possession, custody, or

     control; (c) requiring Josh to destroy and/or delete any remaining copies of MIT’s

     intellectual property, trade secrets, and other confidential business information in

     his possession, custody, or control; (d) requiring Josh to disclose to MIT the

     whereabouts of any other MIT intellectual property, trade secrets, and other

     confidential business information; (e) requiring Josh to disclose to MIT any

     instances in which MIT’s intellectual property, trade secrets, and other

     confidential business information were disclosed to any third party without

     authorization; and (f) prohibiting Josh from any future access to or use of, directly

     or indirectly, of MIT’s intellectual property, trade secrets, and other confidential

     business information;

G.   Reasonable costs and attorneys’ fees, for which Tim and Josh shall be jointly and

     severally liable; and

H.   Such other relief the Court deems just and proper.




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Dated: October 16, 2023        Respec:



                               Laurin H. Mills (VSB No. 7^848)
                               Brian P. Donnelly (VSB No. 82052)
                               Werther & Mills, LLC
                               2121 Elsenhower Avenue, Suite 608
                               Alexandria,VA 22314
                               Phone: (703) 547-4696
                               Fax:(240)912-3031
                               Laurin@werthermills. com
                               bdonnelly@werthermills. com

                               Counsel For Mission Integrated
                               Technologies, LLC




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EXHIBIT A
EXHIBIT B
MUTUAL NON-DISCLOSURE&
    NON-CIRCUMVENTION
         AGREEMENT

            BY AND BETW EEN




ATLANTIS CONSULTANTS LIMITED CORP.



                AND



        TIMOTHY CLEMENTE
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CLAUSE


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                                                      CONTENTS
THIS       NON-DISCLOSURE                       AGREEMENT                 (this “Agreement”) is
made the 5th day of June, 2013 (the “Effective Date”), by and between Atlantis Consultants
Limited Corporation (“ATLANTIS”) with its primary offices located at 4094 Majestic Lane,
Suite 355, Fairfax, VA 22033, and Timothy Clemente (the “Clemente”) with his primary location
at    ______________________________________________________.                   ATLANTIS       and
Clemente are referred to herein individually as a “Party” and collectively as the “Parties”.

BETWEEN:


(1)     ATLANTIS and

(2)     Timothy Clemente (the “Clemente”).

WHEREAS, each Party may be given access to the other Party’s Confidential Information (as
defined in Section 1.3 hereof) for the purposes of: a) permitting each Party to disclose certain
Proprietary Information, including technical data, potential business opportunities and contacts
or sources; and b) for the Parties to evaluate, pursue and capture business opportunities in the
Territory (such purpose, the “Stated Purpose”);

WHEREAS, in order to protect the rights of each Party to their Confidential Information and in
order to protect the confidentiality thereof, the Parties have entered into this Agreement.

NOW IT IS HEREBY AGREED AS FOLLOWS


1       CERTAIN DEFINED TERMS


1.1     “Affiliate” of any Party means each of the directors, officers, shareholders, managers,
        members, partners, employees, agents, representatives, advisors, contractors,
        consultants, attorneys, accountants or affiliated organizations of such Party, including
        any other person that directly or indirectly controls, is controlled by or is under
        common control with such specified Party.

1.2     “Clients” means customers or potential customers, sources, vendors suppliers or
        other contacts introduced by ATLANTIS in the Territory.




                                             PAGE 1
1.3   “Confidential Information” means information whether conveyed in written,
      graphic, oral or physical form, including, but not limited to: Clients contact names;
      addresses; business plans; operations or systems development plans; financial
      projections; financial resources; marketing strategies, sales contracts; research and
      development; manufacturers; markets; third party agreements; strategic resources;
      proposed trade secrets; product ideas; designs; configurations; processes; software;
      improvements; data; plans and strategies; sales and financial reports or forecasts;
      scientific knowledge; know-how; processes; compilations; data bases; prototypes;
      collaborations; inventions; techniques; business strategies; notes; analyses; studies;
      formulae; models; concepts; design concepts; products; business operations; customer
      and supplier lists; business relationships; specifications; drawings; working drawings;
      means of implementation and manufacture; cost and pricing data; bills; ideas; software
      materials (including object code, source code and documentation in the form of
      software notes); methods of encoding; preprocessing and all other proprietary
      information; patent, trademark and copyright applications; patentable or unpatentable
      and/or copyrightable descriptions of mathematics and/or any other written material
      referring to the same; and any document, diagram, drawing, computer program, or
      other communication that is (A) marked “confidential” or “proprietary,” (B) known
      or reasonably known by the Parties to be confidential, or (C) learned or disclosed in
      the course of discussions, studies or other work undertaken between the Parties.
      Notwithstanding the above, the following information shall always be treated as
      “Confidential Information”: any proposed fees or commission to be charged or paid
      from one Party to the other; the existence and terms of this Agreement or any other
      agreement between the parties; the identities of Clients or contact names; and
      information regarding any proposals to Clients.

1.4   “Disclosing Party” means the Party disclosing its Confidential Information to the
      Receiving Party or any of such other Party’s Affiliates.

1.5   “Receiving Party” means the Party receiving Confidential Information of the
      Disclosing Party.




                                          PAGE 2
1.6   “Territory” means worldwide.

2     CONFIDENTIAL INFORMATION.


2.1   Confidentiality Obligations: Neither Party may disclose or use the Confidential
      Information of the other Party unless specifically authorized by the terms of this
      Agreement. The Parties agree that any business opportunity disclosed to a Receiving
      Party shall be considered “Confidential Information” hereunder, and it is explicitly
      agreed to that the Receiving Party is barred and foreclosed from pursuing such
      business opportunity under the terms of this Agreement if such pursuit is not in joint
      conjunction with the Disclosing Party. A Receiving Party may disclose or use
      Confidential Information of the Disclosing Party only under the following conditions:

      2.2.1   Except as otherwise expressly permitted to be disclosed or used pursuant to
              this Section 2, such Receiving Party agrees to hold in strict confidence and not
              directly or indirectly use or disclose to any other person or entity any
              Confidential Information of the Disclosing Party without the prior written
              permission of the Disclosing Party. Such Receiving Party understands that
              disclosure of such Confidential Information would destroy the value of such
              Confidential Information and cause irreparable harm to the Disclosing Party.
              Such Receiving Party shall use, and shall cause its Affiliates to use, at least the
              same level of care and protection of Confidential Information of the
              Disclosing Party as such Receiving Party uses to prevent unauthorized use and
              unauthorized disclosure its own Confidential Information, but in any case
              using no less than a reasonable standard of care.

      2.2.2   Such Receiving Party will use Confidential Information of the Disclosing Party
              only for the Stated Purpose. For the avoidance of doubt, such Receiving
              Party, except as otherwise permitted by this Agreement or any other written
              agreement between the Parties, shall not use or otherwise utilize for its own
              business or benefit, or any third party’s benefit, any Confidential Information
              of the Disclosing Party except for the Stated Purpose.




                                           PAGE 3
2.2.3   Such Receiving Party will use Confidential Information of the Disclosing Party
        in marketing and sales materials, only if such materials are to be delivered to a
        third party for the Stated Purpose, and only as is expressly agreed upon by
        both Parties.

2.2.4   Such Receiving Party will not modify the Confidential Information in any way
        without the prior written consent of the Disclosing Party.

2.2.5   Certain Exceptions to Confidentiality Obligations: The restrictions
        regarding the confidentiality of the Confidential Information of a Disclosing
        Party shall not apply to information that:

             is disclosed by Receiving Party in accordance with a judicial or other
              governmental order provided that the Receiving Party, subject to what is
              permitted under the applicable law, gives the Disclosing Party reasonable
              notice prior to such disclosure and restricts disclosure of the Confidential
              Information to the extent mandatory under the order.

2.2.6   Return of Confidential Information: Upon the earlier of

        (a)      completion of the Stated Purpose;

        (b)      the request of the Disclosing Party; and

        (c)      the expiration or termination of this Agreement, the Receiving Party
                 shall, and shall cause its Affiliates to discontinue use of and promptly
                 return (or, if the Confidential Information is of such a nature that it
                 cannot be returned, delete or destroy) all Confidential Information of
                 the Disclosing Party, and copies thereof and all Physical Property with
                 which it was furnished.

2.2.7   Ownership of Confidential Information:              All Confidential Information
        disclosed to the Receiving Party by the Disclosing Party under this Agreement




                                      PAGE 4
            shall be and remain the property of the Disclosing Party. No licenses or rights
            under any registered or unregistered patent, copyright, trademark or trade
            secret, or application therefore, are granted to or are to be implied by this
            Agreement.

    2.2.8   No Representations or Warranties: Each Party hereby acknowledges that
            neither the other Party nor any of its Affiliates makes any representation or
            warranty as to the accuracy or completeness of the Confidential Information
            disclosed by it. Neither the Disclosing Party nor any of its Affiliates shall be
            liable to the Receiving Party or any of its Affiliates in relation to or as a result
            of the Receiving Party’s use of the Disclosing Party’s Confidential
            Information.

3   NON-CIRCUMVENTION.


    Neither Clemente nor any of its Affiliates shall contact or attempt to contact, directly
    or indirectly, the Clients or other entities which are part of the ATLANTIS
    Confidential Information on matters relating to the subject hereof or otherwise make
    any use of the Confidential Information, except with the express written consent of
    ATLANTIS. Clemente shall not disclose any information discussed by the Parties
    with Clients, or directly deal with any Clients introduced to Clemente by ATLANTIS
    without the express written consent of ATLANTIS.

4   TERM TERMINATION

    This Agreement shall be effective as of the date both Parties have signed the
    Agreement (“Effective Date”). Either Party may terminate the Agreement with
    respect to further disclosures upon thirty (30) days’ prior written notice. However, the
    terms and conditions of this Agreement shall survive for a period of five (5) years
    following any expiration or termination of this Agreement.




                                         PAGE 5
5   ASSIGNMENT, NO THIRD-PARTY BENEFICIARIES


    This Agreement is not assignable by either Party, whether by operation of law or
    otherwise, without the express prior written consent of the other Party, which consent
    shall not be unreasonably denied, delayed or conditioned, and any attempt to assign
    the rights or obligations under this Agreement to the contrary shall be void ab initio.
    Nothing in this Agreement, express or implied, is intended to confer upon any person
    other than the Parties and their respective successors, legal representatives and
    permitted assigns, any rights or remedies under or by reason of this Agreement.

6   REMEDIES

    All remedies provided for in this Agreement shall be cumulative and in addition to,
    and not in lieu of, any other remedies available to either Party at law, in equity or
    otherwise. The Parties agree that monetary damages caused by breaches hereunder
    would be difficult to measure or inadequate and, accordingly, if a Party breaches, or
    proposes to breach, any portion of this Agreement, the other Party shall be entitled, in
    addition to all other remedies that it may have, to expedited relief, including a
    temporary restraining order or a permanent injunction, or other appropriate equitable
    relief (without the posting of any bond or other security) to restrain any such breach
    without showing or proving any actual damage to the other Party.

7   SURVIVAL


    Subject to Section 4 hereof, upon the expiration of the Term or termination of this
    Agreement in accordance with the terms and conditions hereof, all provisions of this
    Agreement shall survive five (5) years following the termination or expiration of this
    Agreement.

8   ENTIRE AGREEMENT


    This Agreement constitutes the complete and exclusive statement of the terms of the
    agreement between the Parties pertaining to the subject matter hereof and supersedes
    all prior agreements and understandings between the Parties, whether written or oral.




                                       PAGE 6
9    AMENDMENT WAIVER


     This Agreement may not be amended or in any manner modified except by a written
     instrument signed by an authorized representative on behalf of each Party.

10   GOVERNING LAW


     This Agreement shall be governed by, interpreted under and construed in accordance
     with the internal substantive laws of the Commonwealth of Virginia applicable to
     contracts executed and to be performed wholly within that state without giving effect
     to the choice or conflict of laws principles or provision thereof that would provide for
     the application of the laws of any other jurisdiction.

11   JURISDICTION AND VENUE


     Each of the Parties expressly waives its, his or her right to a jury trial with respect to
     any suit, litigation or other judicial proceeding regarding this agreement or any dispute
     hereunder or relating hereto. Each of the Parties agrees that any dispute under or
     with respect to this Agreement shall be determined before the state or federal courts
     situated in Alexandria, Virginia, which courts shall have exclusive jurisdiction over and
     with respect to any such dispute, and each of the Parties hereby irrevocably submits to
     the jurisdiction of such courts. Each Party hereby agrees not to raise any defense or
     objection, under the theory of forum non conveniens or otherwise, with respect to the
     jurisdiction of any such court. Should suit be brought to enforce or interpret any part
     of this Agreement, the prevailing party shall be awarded its reasonable attorneys' fees
     and costs, including expert witness fees and fees in prosecuting and/or defending the
     action and on any appeal thereof

12   COUNTERPARTS


     This Agreement may be executed in one or more counterparts (including facsimile),
     each of which shall be deemed an original but all of which together will constitute one
     and the same instrument.




                                         PAGE 7
13      SEVERABILITY


        If any portion or provision of this Agreement is to any extent declared unenforceable
        by a court of competent jurisdiction, then the Parties agree that the court shall reform
        the provision to the minimum extent necessary to make it enforceable and each
        portion and provision of this Agreement shall be valid and enforceable to the fullest
        extent permitted by law.

14      SUCCESSORS


        This Agreement will be binding upon and inure to the benefit of Parties and their
        respective successors and/or permitted assigns.

IN WITNESS WHEREOF this Agreement has been executed by a duly authorized
representative on behalf of each Party as of the Effective Date.

ATLANTIS CONSULTANTS LIMITED CORP                     TIMOTHY CLEMENTE



By                                               By



Name       Fahmi Alubbad                         Name     Timothy Clemente

Title      President                             Title    Signed Individually

Date       6 June 2013                           Date




                                           PAGE 8
EXHIBIT C
EXHIBIT D
EXHIBIT E
DocuSign Envelope ID: ACE560C2-C6C8-498E-A3F0-5F6154D85E2C




                                          Exhibit
                                            2
                                            NON-DISCLOSURE AGREEMENT

                                                      BY AND BETWEEN

                                      MISSION INTEGRATED TECHNOLOGIES,
                                                   LLC AND
                                               JOSHUA CLEMENTE

                    THIS NON-DISCLOSURE AGREEMENT (“Agreement”) is being executed on
            the date last signed below and shall be effective immediately at the date of execution
            (“Effective Date”) by and between Mission Integrated Technologies, LLC (“MIT”) with its
            primary offices located at 1934 Old Gallows Road, Suite 402, Vienna, Virginia 22182, and
            Joshua Clemente (“Joshua”) having an address located at 1129 Denfield St., Unit B, Austin,
            TX 78721. MIT and Joshua Clemente are referred to herein individually as a “Party” and
            collectively as the “Parties”.

              BETWEEN:

              (1) Mission Integrated Technologies, LLC (“MIT”) and

              (2) Joshua Clemente (“Joshua”).

                     WHEREAS, each Party may be given access to the other Party’s Confidential
              Information (as defined in Section 1.3 hereof) for the purposes of: a) permitting each Party
              to disclose certain proprietary information, including technical data, design information and
              project details related to MIT products, including without limitation the Articulating Rapid
              Entry System (ARES); b) for the Parties to evaluate and pursue projects related to the
              provision of build, integration, hardware and software necessary to operate the ARES where
              it is envisioned that Cardinal Scientific, Ibistek, Retiina, or others, will provide contract
              manufacturing and integration services of MIT products (the “Stated Purpose”);

                    WHEREAS, in order to protect the rights of each Party to their Confidential
              Information and in order to protect the confidentiality and proprietary nature thereof, the
              Parties have entered into this Agreement.
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                    WHEREAS, Pursuant to Section 3 of the Agreement dated 21st day of June, 2022
              by and between Joshua Clemente, Timothy Clemente, F2E Holdings LLC, and MIT,
              this Agreement is being executed by MIT and Joshua.

            NOW IT IS HEREBY AGREED AS FOLLOWS

            1. CERTAIN DEFINED TERMS.

            1.1. “Affiliate” of any Party means each of the directors, officers, shareholders,
                managers, members, partners, employees, agents, representatives, advisors, contractors,
                consultants, attorneys, accountants, or affiliated organizations of such Party, including any
                other person that directly or indirectly controls, is controlled by or is under common
                control with such specified Party.

            1.2. “Clients” means the buyers or prospective buyers of the MIT goods and/or services;
                 other potential partner companies; suppliers, vendors, sources, contacts or other persons
                 or entities introduced by one Party to the other.

            1.3. “Confidential Information” means information whether conveyed in written,
                 graphic, oral or physical form, including, but not limited to: Client information, contact
                 names and addresses; business plans; operations or system development plans; financial
                 projections; financial resources; marketing strategies, sales contracts; research and
                 development; manufacturers; markets; third party agreements; strategic resources;
                 proposed trade secrets; product ideas; product advancements or improvements along with
                 any information related thereto, designs; configurations; processes; software;
                 improvements to existing designs or software; data; plans and strategies; sales and
                 financial reports or forecasts; scientific knowledge; know-how; processes; compilations;
                 data bases; prototypes; collaborations; inventions; techniques; business strategies; notes;
                 analyses; studies; formulae; models; concepts; design concepts; products; business
                 operations; customer and supplier lists; business relationships; specifications; drawings;
                 working drawings; means of implementation and manufacture; cost and pricing data; bills;
                 ideas; software materials (including object code, source code and documentation in the
                 form of software notes); methods of encoding; preprocessing and all other proprietary
                 information; patent, trademark and copyright applications; patentable or unpatentable
                 and/or copyrightable descriptions of mathematics, designs, design concepts, software
                 and/or any other written material or verbal descriptions referring to the same; and any
                 document, diagram, drawing, computer program, or other communication that is (A)
                 marked “confidential” or “proprietary,” (B) known or reasonably known by the Parties to
                 be “confidential” or “proprietary”, or (C) learned or disclosed in the course of discussions,
                 studies or other work undertaken between the Parties. Notwithstanding the above, the
                 following information shall always be treated as “Confidential Information”: any
                 compensation, expenses, reimbursements or engineering or hardware costs to be charged
                 or paid by either Party; the existence and terms of this Agreement or any other
                 agreement(s) between the parties; the identities of Clients or contact names; and
                 information regarding any proposals to Clients.
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            1.4. “Disclosing Party” means the Party disclosing its Confidential Information to
                 the Receiving Party or any of such other Party’s Affiliates.

            1.5. “Receiving Party” means the Party receiving Confidential Information of the
                 Disclosing Party.

            2. CONFIDENTIAL INFORMATION.

           2.1.      Confidentiality Obligations: Neither Party may disclose or use the
                  Confidential Information of the other Party unless specifically authorized by the terms of
                  this Agreement. A Receiving Party may disclose or use Confidential Information of
                  the Disclosing Party only under the following conditions:

               2.1.1. Except as otherwise expressly permitted to be disclosed or used pursuant to this Section
                    2, such Receiving Party agrees to hold in strict confidence and not directly or indirectly
                    use or disclose to any other person or entity any Confidential Information of the
                    Disclosing Party without the prior written permission of the Disclosing Party. Such
                    Receiving Party understands that disclosure or use of such Confidential Information
                    would destroy the value of such Confidential Information and cause irreparable harm to
                    the Disclosing Party. Such Receiving Party shall use, and shall cause its Affiliates to use,
                    at least the same level of care and protection of Confidential Information of the
                    Disclosing Party as such Receiving Party uses to prevent unauthorized use and
                    unauthorized disclosure of its own Confidential Information, but in any case, using no
                    less than a reasonable standard of care.

               2.1.2. Such Receiving Party will use Confidential Information of the Disclosing Party only
                    for the Stated Purpose. For the avoidance of doubt, such Receiving Party, except as
                    otherwise permitted by this Agreement or any other written agreement between
                    the Parties, shall not use or otherwise utilize for its own business or benefit, or any
                    third party’s benefit, any Confidential Information of the Disclosing Party except for
                    the Stated Purpose.

               2.1.3. Such Receiving Party will use Confidential Information of the Disclosing Party
                    in marketing and sales materials, only if such materials are to be delivered to a third party
                    for the Stated Purpose, and only as is expressly agreed upon by the Disclosing Party.

               2.1.4. Such Receiving Party will not modify the Confidential Information in any
                    way without the prior written consent of the Disclosing Party.

               2.1.5. It is specifically acknowledged that neither the Company nor any of its Affiliates may
                    use the Confidential Information of MIT, including without limitation technical details,
                    design concepts, designs resulting from exchanges of information pursuant to this
                    Agreement or otherwise, product improvements or advances resulting from
                    the exchange of Confidential Information or pricing information to prepare and/or
                    submit any proposal, bid, quotation or other similar offer to any Client or potential Client
                    that would be considered competitive with or an alternative to a product or
                    proposal submitted to a Client for the sale of MIT products and services, whether or not
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                     such proposal is submitted by the Company, any of its Affiliates, any third party or
                     directly by MIT.

           2.2. Certain Exceptions to Confidentiality Obligations: The restrictions regarding
               the confidentiality of the Confidential Information of a Disclosing Party shall not apply
               to information that is disclosed by Receiving Party in accordance with a judicial or
               other governmental order provided that the Receiving Party, subject to what is permitted
               under the applicable law, gives the Disclosing Party reasonable notice prior to such
               disclosure and restricts disclosure of the Confidential Information to the extent mandatory
               under the order.

                2.3. Return of Confidential Information: Upon the earlier of

                     2.3.1. completion of the Stated Purpose;

                    2.3.2. the request of the Disclosing Party; or
               2.3.3. the expiration or termination of this Agreement, the Receiving Party shall, and
                    shall cause its Affiliates to discontinue use of and promptly return (or, if the
                    Confidential Information is of such a nature that it cannot be returned, delete or destroy)
                    all Confidential Information of the Disclosing Party, and copies thereof and all
                    Physical Property with which it was furnished.

            2.4. Ownership of Confidential Information: All Confidential Information disclosed to
                 the Receiving Party by the Disclosing Party under this Agreement shall be and remain
                 the property of the Disclosing Party. No licenses or rights under any registered or
                 unregistered patent, copyright, trademark or trade secret, or application, therefore, are
                 granted to or are to be implied by this Agreement. It is specifically acknowledged without
                 limiting any of the foregoing that any and all Confidential Information related to MIT
                 product and services, including design, design plans, MIT product improvements,
                 advancements, enhancements or derivatives, whether or not originating with MIT or the
                 Company during exchanges under this Agreement, or otherwise, as shall remain at all times
                 the sole property of MIT. At no time, shall the Company be entitled to any rights in
                 the Confidential Information related to MIT products or improvement, enhancements
                 or derivatives thereof, and all concepts and designs, whether or not derived, created
                 and implemented prior to, during or after the performance of this Agreement by either
                 party shall be the exclusive property of MIT. Any future products or derivative
                 technologies created based on the exchanges of Confidential Information hereunder shall at
                 all times remain the property of MIT.

           2.5. No Representations or Warranties: Each Party hereby acknowledges that neither the other
                Party nor any of its Affiliates makes any representation or warranty as to the accuracy or
                completeness of the Confidential Information disclosed by it. Neither the Disclosing Party
                nor any of its Affiliates shall be liable to the Receiving Party or any of its Affiliates in
                relation to or as a result of the Receiving Party’s use of the Disclosing Party’s Confidential
                Information, including without limitation any investment made in non-recurring engineering
                expenses, product research & development or other associated costs undertaken as a result
                of the exchange of Confidential Information pursuant to this Agreement.
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            3. NON-CIRCUMVENTION.

                      Neither the Company nor any of its Affiliates shall contact or attempt to contact,
                      directly or indirectly, the Clients or other entities who are part of MIT’s Confidential
                      Information on matters relating to the subject hereof or otherwise make any use of the
                      Confidential Information, except with the express written consent of MIT. The Parties
                      shall not disclose price, costs or other financial information to Clients, or directly deal
                      with any Clients introduced by MIT without the express written consent of MIT, or as
                      required by law.

            4. TERM TERMINATION.

                      This Agreement shall be effective as of the date both Parties have signed the
                      Agreement (“Effective Date”). Either Party may terminate the Agreement with
                      respect to further disclosures upon thirty (30) days’ prior written notice. However,
                      the terms and conditions of this Agreement shall survive for a period of five (5)
                      years following any expiration or termination of this Agreement; provided, however,
                      that the MIT intellectual property rights to its products and services and all other
                      Confidential Information shall survive in perpetuity.

            5. ASSIGNMENT, NO THIRD-PARTY BENEFICIARIES.

                      This Agreement is not assignable by either Party, whether by operation of law
                      or otherwise, without the express prior written consent of the other Party, which
                      consent shall not be unreasonably denied, delayed, or conditioned. Any attempt to
                      assign the rights or obligations under this Agreement to the contrary shall be void ab
                      initio. Nothing in this Agreement, express or implied, is intended to confer upon any
                      person other than the Parties and their respective successors, legal representatives and
                      permitted assigns, any rights or remedies under or by reason of this Agreement.

            6. REMEDIES.

                      All remedies provided for in this Agreement shall be cumulative and in addition to,
                      and not in lieu of, any other remedies available to either Party at law, in equity or
                      otherwise. The Parties agree that monetary damages caused by breaches hereunder
                      would be difficult to measure or inadequate and, accordingly, if a Party breaches, or
                      proposes to breach, any portion of this Agreement, the other Party shall be entitled, in
                      addition to all other remedies that it may have, to seek expedited relief, including a
                      temporary restraining order or a permanent injunction, or other appropriate equitable
                      relief to restrain any such breach.

            7. SURVIVAL.

                      Subject to Section 4 hereof, upon the expiration of the Term or termination of
                      this Agreement in accordance with the terms and conditions hereof, all provisions of
                      this Agreement shall survive five (5) years following the termination or expiration of
                      this Agreement.
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            8. ENTIRE AGREEMENT.

                      This Agreement constitutes the complete and exclusive statement of the terms of
                      the agreement between the Parties pertaining to the subject matter hereof and
                      supersedes all prior agreements and understandings between the Parties, whether
                      written or oral.

            9. AMENDMENT WAIVER.

                      This Agreement may not be amended or in any manner modified except by a
                      written instrument signed by an authorized representative on behalf of each Party.

            10. GOVERNING LAW.
                  This Agreement shall be governed by, interpreted under and construed in accordance
                  with the internal substantive laws of the Commonwealth of Virginia, applicable
                  to contracts executed and to be performed wholly within that jurisdiction without
                  giving effect to the choice or conflict of laws principles or provision thereof that
                  would provide for the application of the laws of any other jurisdiction.

              11. ARBITRATION AND VENUE.

            11.1. Arbitration. EACH OF THE PARTIES EXPRESSLY WAIVES ITS, HIS OR HER
                RIGHT TO A JURY TRIAL WITH RESPECT TO ANY SUIT, LITIGATION
                OR OTHER JUDICIAL PROCEEDING REGARDING THIS AGREEMENT OR
                ANY DISPUTE HEREUNDER OR RELATING HERETO.

            11.2. Venue. The parties shall make a good faith effort to settle any dispute or claim arising
                under this Agreement. If the Parties are unable to resolve such dispute, the Parties agree
                that such controversy or dispute will be settled by final and binding arbitration
                in accordance with the Rules of Arbitration under the American Arbitration Association
                (“AAA”), as amended and in effect at the time that such demand for arbitration is
                filed. Any dispute in which the amount in controversy is less than Two Million United
                States Dollars (USD $2,000,000) shall be submitted to a single arbitrator for resolution
                who will be selected in accordance with the AAA Rules of Arbitration. Any dispute in
                which the amount in controversy is Two Million United States Dollars (USD $2,000,000)
                or greater shall be submitted to a three-arbitrator panel for resolution. In such case,
                each party shall select an arbitrator and then the two party- appointed arbitrators shall
                choose one additional arbitrator who shall act as the chairman. The Award of the
                Arbitral Tribunal shall be binding upon the parties and conclusive to the fullest extent
                permitted by law. The place of any arbitration shall be in Fairfax County, Virginia. In
                any arbitration brought under this Agreement, the Arbitration Tribunal shall award
                the prevailing party its reasonable attorneys’ fees and costs, including the arbitrator
                costs, AAA administrative fees, expert witness fees and any other fees
                (collectively “Arbitration Costs”) in prosecuting or defending the action and on any
                appeal thereof.

            12. COUNTERPARTS.
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                      This Agreement may be executed in one or more counterparts (including facsimile),
                      each of which shall be deemed an original but all of which together will constitute one
                      and the same instrument.

            13. SEVERABILITY.

                      If any portion or provision of this Agreement is to any extent declared unenforceable
                      by a court of competent jurisdiction, then the Parties agree that the court shall reform
                      the provision to the minimum extent necessary to make it enforceable and each portion
                      and provision of this Agreement shall be valid and enforceable to the fullest extent
                      permitted by law.

            14. SUCCESSORS.

                      This Agreement will be binding upon and inure to the benefit of Parties and
                      their respective successors and/or permitted assigns.

                                              [SIGNATURE PAGE FOLLOWS]
DocuSign Envelope ID: ACE560C2-C6C8-498E-A3F0-5F6154D85E2C




                    IN WITNESS WHEREOF, this Agreement has been executed by a duly
              authorized representative on behalf of each Party as of the Effective Date.
               MISSION INTEGRATED                            JOSHUA CLEMENTE
               TECHNOLOGIES, LLC
                                                             ___________________________
               By: ____________________________              Joshua Clemente
               Timothy Clemente
               Manager/President
EXHIBIT F
EXHIBIT G
Mission Ex. 1002-001
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EXHIBIT H
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( 12) United States Patent                                                      ( 10 ) Patent No.: US 11,174,677 B2
         Clemente                                                               (45 ) Date of Patent :  Nov. 16 , 2021
( 54 ) VEHICLE - MOUNTED ELEVATED ACCESS                                  ( 58 ) Field of Classification Search
         SYSTEM                                                                  CPC B64F 1/315 ; E06C 5/04 ; E06C 1/39 ; E06C
                                                                                           5/36 ; E06C 5/44 ; E06C 7/16 ; E06C 7/183
( 71 ) Applicant: Joshua Clemente , Philadelphia, PA                             See application file for complete search history .
                       (US )                                              (56 )                   References Cited
( 72 ) Inventor: Joshua Clemente , Philadelphia, PA                                         U.S. PATENT DOCUMENTS
                       (US)                                                          502,484 A * 8/1893 Dederick
( * ) Notice:          Subject to any disclaimer, the term of this                 1,162,413 A * 11/1915 perling                          E06C 5/04
                                                                                                                                            182 /68.1
                       patent is extended or adjusted under 35                     3,605,943 A * 9/1971 Beaudet                           E06C 5/04
                       U.S.C. 154 (b ) by 100 days .                                                                                        182 /66.2
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( 21 ) Appl. No .: 16 /688,884                                                     8,622,173 B2                   1/2014 Fuqua et al .
                                                                                                                   (Continued )
( 22 ) Filed :         Nov. 19 , 2019
                                                                                                FOREIGN PATENT DOCUMENTS
( 65 )               Prior Publication Data                               DE                             9116020 U1 * 4/1993             B64F 1/315
         US 2020/0157884 A1      day 21 , 2020                            DE
                                                                          WO
                                                                                                         4400741 Al * 7/1995
                                                                                             WO 01/97919 Al                12/2001
                                                                                                                                         B64F 1/315
                                                                          Primary Examiner — Alvin C Chin - Shue
              Related U.S. Application Data                               (74 ) Attorney, Agent, or Firm Lewis Roca Rothgerber
                                                                          Christie LLP
( 60 ) Provisional application No. 62/ 770,022 , filed on Nov.            ( 57 )                                   ABSTRACT
         20, 2018 .
                                                                          A vehicle -mounted access system includes a fixed base
( 51 ) Int . Cl .                                                         structure including a plurality of track channels; a plurality
         E06C 5/04                  ( 2006.01)                            of movable hinge carriages configured to move along the
         B64F 11315                 ( 2006.01 )                           plurality of track channels; an inclinable access structure
         E06C 5/36                  (2006.01 )                            pivotably connected to the movable hinge points and con
         E06C 5/44                  ( 2006.01 )                           nected to lifting masts by forward tension elements , lifting
         E06C 7/16                  ( 2006.01 )                           masts connected to the fixed base structure by rear tension
         E06C 1/39                  ( 2006.01 )                           elements and pivotably connected to the fixed base structure ;
         E06C 718                   ( 2006.01 )                           an actuator connected between the movable hinge carriages
( 52) U.S. CI .                                                           and the fixed base structure , the actuator configured to move
         CPC                   E06C 5/04 ( 2013.01 ) ; B64F 1/315         the movable hinge carriages to raise the distal end of the
                    ( 2013.01 ) ; E06C 1/39 (2013.01 ) ; E06C 5/36        inclinable access structure via the forward tension elements,
                    ( 2013.01 ) ; E06C 5/44 (2013.01 ) ; E06C 7/16        the lifting mast , and the rear tension elements .
                                (2013.01 ) ; E06C 7/183 (2013.01 )                       17 Claims , 10 Drawing Sheets
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                                                                          130                              126




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                                              US 11,174,677 B2
                                                        Page 2

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U.S. Patent     Nov. 16 , 2021         Sheet 1 of 10          US 11,174,677 B2



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U.S. Patent               Nov. 16 , 2021    Sheet 2 of 10                   US 11,174,677 B2

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U.S. Patent               Nov. 16 , 2021    Sheet 3 of 10         US 11,174,677 B2

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U.S. Patent               Nov.16,2021                   Sheet 4 of 10       US 11,174,677 B2

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U.S. Patent            Nov. 16 , 2021               Sheet 5 of 10        US 11,174,677 B2
                                   125
       131

      126                                     202

                                                                  -101

               130
                                  FA
                                       -140
                            22                                                5
                                                                              .
                                                                              FIG




            -111
                                          105
                     1 37
                                              108

       120 112              201
                                                            100
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                        125
131
        126               -202
                    .




                                                                                            -101
                                                               -203
      130                                  110

                                                                                                   .
                                                                                                   FIG
                                                                                                   6
                                                                           140
                              111

                                                 113

                                                                           108

                                                 120 112       201
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              100
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                                                                    -131
                                                              126
                                                                           -125
                                                                     202
       100                        1307


                                                      -110
              111
                            113

 120
112
               201
                                                               203
                    PA
                       PO
                        108          140


                                                                    101


                                  FIG . 7
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                                                         126
                                                  131
                                                                               -125
       1007
                                                                         301
                                        130
                                                                      -202

                                                          -110

              111

 120
112
                201
                         180
                                 108               140




                                     FIG . 8
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                           Pumps
                           On
                           Hydraulic
                           :                                              UPMove DMOoWvNe                                               UPMove MDoOvWeN
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                                           RL:Oe|PCitloarmtnifcortml                                           CR:0Seotrnaictrewodaly
                                Statiurs
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                                                                                                                                                          Stair
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                                                                                                                                                          4.82
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                                                                                                                                                                                     Both  DOWN
                                                                                                                                                                                           Right
                                                                                                                                                                                           Both
                                                                                                                                                                                           )
                                                                                                                                                                                           Left          9
                                                                                                                                                                                                         .
                                                                                                                                                                                                         FIG
                                                                                                                                                                                                   902
                          903
                                                                                                                                                                                           (




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900
      901
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            Mode Manual Mode Mode LFieved LEFT FLeivdeRIGHT Clients Config
                                                                              906
U.S. Patent         Nov. 16 , 2021                  Sheet 10 of 10                           US 11,174,677 B2




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                                                                          7.75

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       777Boeing                         0
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        XXXX XXXX XXXX XX XX XX XX XX XX

900
                                                   US 11,174,677 B2
                         1                                                                          2
        VEHICLE - MOUNTED ELEVATED ACCESS                                  along the access structure, thereby reducing cantile
                      SYSTEM                                              vered lengths of the access structure .
                                                                        Aspects of embodiments of the present disclosure are
             CROSS - REFERENCE TO RELATED                             directed toward a vehicle -mounted elevated access system .
                        APPLICATION                              5
                                                                  According to some example embodiments of the present
                                                               disclosure, a vehicle -mounted access system including : a
   The present application claims priority to and the benefit fixed base structure including a plurality of track channels;
of U.S. Provisional Patent Application No. 62 /770,022 , filed a plurality of movable hinge carriages respectively on and
on Nov. 20 , 2018 , the content of which is incorporated 10 configured to move along the plurality of track channels ; an
herein by reference in its entirety.                           inclinable access structure having a proximal end and a
                     BACKGROUND                                distal end, the proximal end of the inclinable access structure
                                                               being pivotably connected to the plurality of movable hinge
                            1. Field                                  carriages; a lifting mast having a proximal end and a distal
                                                                 15   end, the distal end of the lifting mast being connected to the
   Aspects and features of embodiments of the present                 distal end of the inclinable access structure by forward
invention relate to a vehicle -mounted elevated access sys            tension elements and being connected to the fixed base
tem .                                                                 structure by rear tension elements, the proximal end of the
                                                                      lifting mast being pivotably connected to the fixed base
                 2. Description of Related Art                  20 structure ; and an actuator connected between the movable
                                                                   hinge carriages and the fixed base structure, the actuator
   In the course of, for example, tactical (police , SWAT, or being configured to move the movable hinge carriages to
military ), firefighting, and rescue operations, groups of raise the distal end of the inclinable access structure via the
people may need to rapidly enter and / or exit elevated points forward tension elements, the lifting mast , and the rear
of interest, including buildings , structures, environmental 25 tension elements.
features, or mobile targets ( e.g. , commercial aircraft parked      According to some example embodiments, the vehicle
on tarmac ). To easily and quickly reach these elevated points mounted access system further includes an inclinable access
of interest, external structures , such as external staircases , handrail positioned along to and pivotably attached to the
may be used . Further, in some instances , it may be desired inclinable access structure .
that a continuous route of access and / or egress between the 30 According to some example embodiments, the inclinable
ground and the elevated point of interest be maintained such access handrail is configured to extend into a deployed
that rapid movements of personnel between elevations may position by a plurality of linkages.
be achieved at any time throughout the operation.                    According to some example embodiments, the vehicle
   Conventional elevated access systems exist which may be            mounted access system further including a multi-position
mounted or dismounted from various suitable vehicles in 35 end  breaching platform that is pivotably connected to the
                                                           distal end of the inclinable access structure .
order that the vehicle may be used in a variety of functions
( e.g. , so that the vehicle's utility is not limited) . When           According to some example embodiments, the vehicle
mounted to a suitable vehicle, such systems generally                 mounted access , further including a platform handrail posi
include       base structure connected to the vehicle at a            tioned along and pivotably attached to the multi - position end
plurality of points and an access structure including a ramp 40 breaching platform .
or stairway, which can be inclined with respect to the base          According to some example embodiments, the platform
structure, providing personnel access between ground level handrail is configured        to extend into a deployed position by
and points some height above the ground.                          an action of aa multilink kinematic mechanism .
   However, these conventional elevated access systems              According to some example embodiments, the vehicle
suffer drawbacks including:                                    45 mounted access system further including a plurality of
   a reduction in horizontal overhang of the access structure ; secondary actuators connected between the distal end of the
   substantial cantilevered sections of the access structure inclinable access structure and the multi -position end
      that are subject to increased bending forces and deflec- breaching platform .
      tions (e.g. , movement under load) as compared to              According to some example embodiments, the secondary
      non -cantilevered structures; and                        50 actuators are configured to extend to pivot the multi -position
   inherent instability and failure modes such as buckling. end breaching platform relative to the inclined access struc
   The above information disclosed in this Background ture and to transition a surface of the multi -position end
section is only for enhancement of understanding of the breaching platform into a series of stairs .
background , and therefore , it may contain information that        According to some example embodiments, the inclinable
does not constitute prior art.                                 55 access structure further includes a ramp.
                                                                    According to some example embodiments, the inclinable
                          SUMMARY                                 access structure further includes a plurality of stairs .
                                                                    According to some example embodiments, the plurality of
   Embodiments of the present invention provide an elevated stairs are configured to remain passively parallel to the
access system including :                                      60 ground.
   a movable hinge between an access structure and a base           According to some example embodiment, the vehicle
      structure, which improves horizontal reach ;                mounted access system further including a controller con
   self -deploying and self -stowing handrails/ guardrails figured to control movement of the actuator.
      along the access structure and end platform ;                 According to some example embodiments, the controller
   a self -deploying and self- stowing end platform ; and 65 is operated by a touchscreen user interface including : a
   access structure actuation components that are substan- manual mode ; a preset mode ; a video streaming mode ; and
        tially loaded in tension and that are attached further        an aircraft mode .
                                                    US 11,174,677 B2
                              3                                                                    4
  According to some example embodiments, the preset                 structure 105 has a front end 203 that is positioned near the
                                                                                       a
mode is configured to allow aa selection of pre -programmed front of the host vehicle 101 and a rear end 204 opposite to
heights of the distal end of the inclinable access structure . the front end 203 and positioned near the rear of the host
   According to some example embodiments, in the aircraft vehicle 101 .
mode , the touchscreen user interface displays an aircraft, 5 The inclinable access structure 110 has a proximal end
wherein , in the aircraft mode, the controller is configured to 201 that is partially connected (e.g. , movably and / or pivot
allow for a selection of a pre -programmed height of the ably connected to , not rigidly connected ) to the fixed base
distal end of the inclinable access structure by selecting a structure 105 and a distal end 202 opposite to the proximal
window on the displayed aircraft.                               end 201. In a deployed configuration, the distal end 202 is
   According to some example embodiments, the actuator is 10 positioned further away from the fixed base structure 105
configured to pull the movable hinge carriages toward the than is the proximal end 201 .
actuator to raise the distal end of the inclinable access         In various embodiments , the inclinable access structure
structure .                                                     110 may include one or more ramps and / or one or more
  According to some example embodiments, a method for stairways. In the illustrated embodiment, the inclinable
deploying the vehicle -mounted access system by using a 15 access structure 110 includes a stairway including a plurality
                                                           of steps 113. The steps 113 may be configured to remain
touchscreen user interface, the method including: display passively
ing , by the touchscreen user interface , an image of an             parallel to the ground (e.g. , may remain parallel to
aircraft; transmitting, by the touchscreen user interface, a the ground due to gravity ) during all angles of operation of
preprogrammed height selected by a user by selecting a the inclinable access structure 110 (e.g. , during inclination
window on the image of the aircraft to a controller of the 20 and declination of the inclinable access structure 110 ) .
vehicle -mounted access system ; and raising, by the control access   Hereinafter, the lifting mechanism for the inclinable
ler, a distal end of an inclinable access structure connected              structure 110 will be described in more detail . A
to the vehicle -mounted access system to the preprogrammed plurality of lifting masts 120 (e.g. , one lifting mast 120 on
height.                                                            each side of the inclinable access structure 110 , or one lifting
                                                                25 mast 120 on each side of each of the inclinable access
       BRIEF DESCRIPTION OF THE DRAWINGS                           structures 110 ) are pivotably connected to the fixed base
                                                                   structure 105 at a proximal end of the lifting masts 120. A
   FIG . 1 is a perspective view of a vehicle -mounted distal end of each of the lifting masts 120 is connected to
elevated access system according to an embodiment of the (e.g. , pivotably connected to ) forward tension element( s )
present invention ;                                             30 111 and rear tension element (s ) 112. The forward tension
   FIG . 2 shows an enlarged portion A of FIG . 1 ;                elements 111 are respectively connected to (e.g. , extend
   FIG . 3 is a perspective view of an end platform shown in between ) the distal end of the lifting masts 120 and the distal
FIG . 1 in a deployed configuration ;                              end 202 of the inclinable access str cture 110 , and the rear
   FIGS . 4-8 show steps of deploying the vehicle -mounted tension elements 112 are respectively connected to ( e.g. ,
elevated access system from a stowed configuration accord- 35 extend between the distal end of the lifting masts 120 and
ing to an embodiment of the present invention ;                    the fixed base structure 105 .
   FIG . 9 shows a graphical user interface (GUI) for con-            The forward and rear tension elements 111/112 may be
trolling the vehicle -mounted elevated access system in a rods, or plates , such as metal or composite rods or plates, or
manual mode according to an embodiment of the present they may be cables or ropes , such as metal cable or synthetic
invention ; and                                                 40 fiber rope or cable . In other embodiments, the forward and
   FIG . 10 shows the GUI shown in FIG . 9 in an aircraft rear tension elements 111/112 may be cables or ropes , such
mode according to an embodiment of the present invention . as metal cables or synthetic fiber ropes or cables. In some
                                                                   embodiments, the forward tension elements 111 may each be
                 DETAILED DESCRIPTION                              a single , continuous element between the lifting mast 120
                                                                45 and the distal end 202 of the inclinable access structure 110 ,
   The exemplary embodiments of the present invention and the rear tension elements 112 may each include a
disclosed herein are directed to a vehicle -mounted platform plurality of elements pivotably connected to each other.
including one or more inclinable access structures connected Referring to , for example , FIG . 4 , by adding a pivotable joint
to a base structure at movable hinge points, which allows the (e.g. , a pivotable connection ) in the rear tension element
entire access structure to advance toward an above - ground 50 112 , the rear tension element 112 may be more compactly
target prior to and / or during elevation /inclination . In some folded in a retracted /declined position .
embodiments, the actuation devices, structures, and mecha-            In addition, the fixed base structure 105 includes a plu
nisms of the access structure are substantially loaded in rality of track channels 107 (e.g. , one track channel 107 on
tension, and the handrails/ guardrails and end platform ( s ) each side of the inclinable access structure 110 ) . The track
may be deployed automatically and without manual effort. 55 channels 107 are oriented from the front end 203 to the rear
   Referring to FIGS . 1-3 , a vehicle -mounted elevated end 204 of the fixed base structure 105 (e.g. , an axis of each
access system 100 according to an embodiment of the                 of the track channel 107 extends in a direction from the front
present invention includes an inclinable access structure 110       end 203 toward the rear end 204 of the fixed base structure
connected to ( e.g. , positioned upon) a fixed base structure 105) .
( e.g. , a fixed base ) 105. In some embodiments, a plurality of 60 One or more movable hinge points ( e.g. , moveable hinge
inclinable access structures 110 may be included in the carriages) 108 may be arranged on each track channel 107 .
vehicle -mounted elevated access system 100. In such The movable hinge points 108 may include a plurality of
embodiments, the inclinable access structures 110 may be bearings ( e.g. , wheels or sliding /bearing surfaces and plates )
arranged adjacent to each other or in front / behind each other. such that they may move longitudinally along the respective
The fixed base structure 105 may be mounted to a suitable 65 track channel 107 .
host vehicle 101 so the vehicle -mounted elevated access           The inclinable access structure 110 may be pivotably
system 100 is mobile . In such an embodiment, the fixed base attached to the movable hinge points 108 , which are
                                                      US 11,174,677 B2
                                5                                                                   6
arranged on the track channels 107. For example , a proximal standing and walking and may have a similar surface
end 201 of the inclinable access structure 110 may be structure as that of the inclinable access structure 110 or a
connected to one movable hinge point 108 .                   different surface structure as that of the inclinable access
  Actuators 140 may be connected between the movable structure 110. For example , when the inclinable access
hinge points 108 and the front end 203 of the fixed base 5 structure 110 is stairs , the surface 126 may also be stairs . But
structure 105. In various embodiments, the actuators 140             in another embodiment, when the inclinable access structure
may be hydraulic cylinders ( e.g. , double -acting hydraulic         110 is stairs , the surface 126 may be a flat ( with or without
cylinders ), and in such an embodiment, the barrel is con- ribs or grooves for traction ) surface. Further, the deck
nected to the front end 203 of the fixed base structure 105       section 106 , the inclinable access structure 110 , and the
and the piston rod is connected to the movable hinge points 10 multi-position end breaching platform 125 provide a sub
108 , but the present invention is not limited thereto . In other stantially continuous path (e.g. , movement path ) for one or
embodiments , the actuators 140 may be screw - type actua-           more people and / or machines (e.g. , drones , robots , etc.) to
tors , such as ACME or ball screw actuators , or a belt drive,       access an elevated location by walking or running from the
rack and pinion, gear and track , or a set of winches , but the deck section 106 , up the inclinable access structure 110 , onto
present invention is not limited thereto . The actuators 140 15 the multi - position end breaching platform 125 , and then into
may be configured to translate ( e.g. , move or pull ) the the elevated position . In various embodiments , the multi
movable hinge points 108 along the track channels 107 position end breaching platform 125 may be configured to
toward the front end 203 of the fixed base structure 105 , remain passively parallel to the ground during operation of
thereby moving the proximal end 201 of the inclinable the vehicle -mounted elevated access system 100. For
access structure 110. As the proximal end 201 of the 20 example, the surface 126 may remain parallel to the ground
inclinable access structure 110 moves toward the front end regardless of the inclination angle of the inclinable access
203 of the fixed base structure 105 , the distal end 202 of the structure 110 to which it is connected .
inclinable access structure 110 is elevated ( e.g. , pivoted        The multi -position end breaching platform 125 may also
upwardly ) about the lifting masts 120 due to the fixed be controlled to be inclined at an angle corresponding to the
lengths of the front and rear tension elements 111/112 . For 25 inclination angle of the inclinable access structure 110 to
example , because the front and rear tension elements 111 / allow access to even higher points of interest. For example,
112 do not extend (e.g. , stretch ), as the proximal end 201 of in some embodiments, the multi- position end breaching
the inclinable access structure 110 moves forward due to the platform 125 may be configured to be raised by actuators
movement of the movable hinge points 108 , the distal end (e.g. , secondary actuators) 301. In some embodiments, the
                                                 2

202 of the inclinable access structure 110 is pulled upwardly 30 actuators 301 may be electric actuators, but the present
( e.g. , is inclined ) due to the restrictive force applied by the   invention is not limited thereto . The actuators 301 are
front and rear tension elements 111/112 . Put another way,           connected between the distal end 202 of the inclinable
because the length of the front and rear tension elements access structure 110 and the multi -position end breaching
111/112 cannot extend beyond a maximum length, as the platform 125 (e.g. , a proximal end of the multi -position end
proximal end 201 of the inclinable access structure 110 35 breaching platform 125 adjacent to the distal end 202 of the
moves toward the front end 203 of the fixed base structure inclinable access structure 110 ) . The actuators 301 can push
105 , the distal end 202 of the inclinable access structure 110 the multi - position end breaching platform 125 upwardly to
moves upwardly ( e.g. , inclines ). Reversing the actuators 140 match ( or substantially match ) the angle of the inclinable
translates ( e.g. , moves or pushes ) the movable hinge points access structure 110 .
108 rearward ( e.g. , toward a rear of the vehicle 101 ) , thereby 40 The elevated access system 100 may include handrails
declining the inclinable access structure 110 and stowing the 130 mounted to the inclinable access structure 110 and
inclinable access structure 110 .                                    handrails 131 mounted to the multi -position end breaching
   In some embodiments, the fixed base structure 105 platform 125. The handrails 130 may be positioned along
includes a deck section 106 that is positioned near the rear and pivotably mounted to the inclinable access structure
end 204 thereof and at (or adjacent to ) the proximal end 201 45 110 , and the handrails 131 may be positioned along and
of the inclinable access structure 110. The deck section 106 pivotably mounted to the multi - position end breaching plat
may have a substantially flat surface parallel to and facing form 125. In some embodiments , handrails 130 and hand
away from the ground (e.g. , facing upward ). The surface of rails 131 may be configured to operate independently from
the deck section 106 is suitable for standing and walking, each other. The handrails 130/131 may operate by gravity.
and may have a similar surface structure as that of the 50 For example, as the inclinable access structure 110 is
inclinable access structure 110 or may have a different deployed, the handrails 130/131 may fall backwards,
surface structure than that of the inclinable access structure thereby extending the handrails 130/131 . In some embodi
110. For example, because the deck section 106 does not ments, the handrails 130/131 may be pivotably mounted to
incline ( e.g. , remains flat ), the deck section 106 may have a the inclinable access structure 110 and the multi -position
continuous, flat surface, optionally with ribs or grooves 55 end breaching platform 125 , respectively, and may have
formed therein for additional traction, as opposed to stairs as stops such that, when the pivot to the extended position is
in the inclinable access structure 110 .                          due to gravity, the stop pivoting at a desired angle due to the
   In addition , the elevated access system 100 includes a stops . In the illustrated embodiment, the handrails 131 and
multi -position end breaching platform 125. The multi -posi- 130 may be connected to the inclinable access structure 110
tion end breaching platform 125 may be pivotably connected 60 via a deployment linkage 115 such that the motion of the
to the distal end 202 of the inclinable access structure 110 . inclinable access structure 110 passively (e.g. without addi
The multi-position end breaching platform 125 has a surface tional actuation ) deploys and stows the handrails 131 and
126 that, in a deployed configuration , faces away from and 130 while rigidly maintaining their position (e.g. , their
is parallel to the ground (e.g. , is substantially flat ). In the stowed or deployed position ).
retracted position , the multi -position end breaching platform 65 In various embodiments, a control system ( e.g. , a con
125 lies on the inclinable access structure 110 to provide troller) 135 may be housed in or on the vehicle and / or within
compact overall dimensions . The surface 126 is suitable for the fixed base structure 105. The control system 135 is
                                                    US 11,174,677 B2
                              7                                                                  8
configured to control the operation of the vehicle -mounted structure 105. As described above , because the steps 113 of
elevated access system 100. For example, the control system the inclinable access structure 110 are configured to remain
135 may control the movement of the actuators 140 and the passively parallel to the ground, they remain parallel to the
movement of the actuators 301 to determine the configura- ground in this configuration without external input. Simi
tion and overall height of the inclinable access structure 110.5 larly, the multi-position end breaching platform 125 is
   A method of deploying ( e.g. , extending, raising, or inclin- pivotably connected to the distal end 202 of the inclinable
ing ) an embodiment of the vehicle -mounted elevated access access structure 110 such that it remains passively parallel to
system 100 will be described in more detail hereinafter with the ground without external input. In various embodiments ,
reference to FIGS . 4-8 .                                    the multi - position end breaching platform 125 may be
  Referring to FIG . 4 , which shows the vehicle -mounted 10 configured to remain passively parallel to the ground during
elevated access system 100 in the stowed (or retracted ) operation of the vehicle -mounted elevated access system
configuration , the inclinable access structure 110 is posi-       100. When the inclinable access structure 110 is moved to an
tioned flat against the fixed base structure 105 , and the angle above parallel, such as the low angle deployed con
multi- position end breaching platform 125 is folded against figuration shown in FIG . 6 , the handrails 130 may be
( e.g. , is folded against a top surface of) the inclinable access 15 extended (or deployed) via the motion of the deployment
structure 110. In this configuration, the handrails 130 and linkages 115 connected to the inclinable access structure 110
131 are in a stowed configuration in which they are posi- and to the proximal ends of the handrail uprights 116. Such
tioned flat against the fixed base structure 105 , and the lifting linkages may be disconnected to allow handrails 130 to lay
masts 120 are in a stowed configuration in which they are          flat on the inclinable access structure 110 when desired. In
pivoted downwardly near the fixed base structure 105 . 20 the low angle deployed configuration , both the handrails 130
   Referring to FIG . 5 , in the deployed flat configuration, the and 131 may be in the extended ( or deployed) configuration
inclinable access structure 110 remains flat against the fixed (or position )
base structure 105 , but the lifting masts 120 are shifted into      The elevated access system 100 shifts from the deployed
their deployed position due to retraction ( e.g. , partial retrac- low angle configuration shown in FIG . 6 to the deployed
tion) of the actuators 140 , which pulls the tension elements 25 high angle configuration as shown in FIG . 7 by further
111 forward , which cause the movable hinge points 108 to movement of the actuators 140. Referring to FIG . 7 , in the
move along the track channels 107 , which causes the lifting deployed high angle configuration , the distal end 202 of the
masts 120 to move into a deployed configuration (or posi- inclinable access structure 110 is raised to a height greater
tion ). Additionally , as the movable hinge points 108 translate than that reached in the deployed low angle configuration
the inclinable access structure 110 forward , the multi -posi- 30 shown in FIG . 6. As in the other configurations, the steps 113
tion end breaching platform 125 is shifted into its flat           of the inclinable access structure 110 and the surface 126 of
deployed position by way of forces applied through the             the multi-position end breaching platform 125 remain pas
deployment mechanism 302 , and reacted by the fixed base sively parallel the ground. The handrails 130 remain
structure 105 , and host vehicle 101. The forward tension substantially parallel to the inclinable access structure 110 ,
elements 111 and the rear tension elements 112 pivot relative 35 and the handrails 131 remain substantially parallel to the
to the fixed base structure 105 during the movement of the multi -position end breaching platform 125 .
actuators 140 but do not bend or fold . In various embodi-         The elevated access system 100 shifts from the deployed
ments, the lifting masts 120 , the handrails 131 , and the high angle configuration shown in FIG . 7 to the deployed
multi-position end breaching platform 125 may be deployed high angle configuration with the multi -position end breach
concurrently ( or substantially simultaneously ).             40 ing platform 125 deployed in a stairway configuration as
   In the deployed flat configuration, the tops of the lifting     shown in FIG . 8 by extension (e.g. , further extension) of the
masts 120 are raised above the fixed base structure 105. The       actuators 301. Referring to FIG . 8 , when the multi -position
inclinable access structure 110 is connected to the lifting        end breaching platform 125 is in the stairway configuration ,
masts 120 by the forward tension elements 111 , and the the tread surface 126 of the multi - position end breaching
lifting masts 120 are connected to the fixed base structure 45 platform 125 separates and rotates into a series of stairs
105 by way of rear tension elements 112 and the pivotable which align as an extension of the inclinable access structure
connection 104. In the deployed flat configuration, the 110 and is not parallel to the ground as in the above
multi - position end breaching platform 125 is oriented in a described configurations. The multi - position end breaching
flat, deployed position in which the multi -position end platform 125 is deployed into the stairway configuration by
breaching platform 125 is folded out so that the surface 126 50 movement ( e.g. , extension ) of the actuators 301 .
thereof faces upwardly and is parallel to the inclinable          Although the multi - position end breaching platform 125
access structure 110. In various embodiments, the multi- is only shown as entering the stairway configuration when
position end breaching platform 125 may be configured to the inclinable access structure 110 is in its highest configu
remain passively parallel to the ground in the flat deployed ration, that is , the high angle configuration, the multi
position . In this configuration , the handrails 131 of the 55 position end breaching platform 125 may enter the stairway
multi-position end breaching platform 125 may be deployed configuration regardless of the position ( or configuration ) of
automatically ( e.g. , may be deployed passively, without      the inclinable access structure 110 as long as it is in at least
additional actuation ) via a rigid linkage 303 (e.g. , may be athe deployed flat configuration shown in FIG.5 ( e.g ., as long
multilink kinematic mechanism ) while the handrails 130 of     as the multi -position end breaching platform 125 is folded
the inclinable access structure 110 remain flat against the 60 out from the inclinable access structure 110 ) .
fixed base structure 105 .                                        Further, although the inclinable access structure 110 is
   The elevated access system 100 shifts from the deployed shown as being deployed into certain configurations, the
flat configuration shown in FIG . 5 to the deployed low angle inclinable access structure 110 can be deployed to any height
configuration shown in FIG . 6 by further movement of the between the deployed flat configuration shown in FIG . 5 to
actuators 140. In the deployed low angle configuration 65 the deployed high angle configuration shown in FIG . 8. Put
shown in FIG . 6 , the distal end 202 of the inclinable access another way, the inclination angle of the inclinable access
structure 110 is raised to a height above the fixed base structure 110 is not limited to the distinct angles shown in
                                                     US 11,174,677 B2
                               9                                                                   10
FIGS . 5-8 but may be raised to any desired height ( e.g. , to occurrence of accidental control inputs. The manual control
any desired angle) between the deployed flat configuration mode also displays a 3D responsive image 903 of the
shown in FIG . 5 and the deployed high angle configuration vehicle -mounted elevated access system 100 that highlights
shown in FIG . 8. Nor are the angles of the inclinable access the subsystem (or component) being actuated . A stair info
structure 110 and the multi -position end breaching platform 5 box 904 displays real time angle and height of the inclinable
125 shown in FIG . 8 intended to be limiting of the possible access structure 110 and the multi -position end breaching
range of motion of these components .                           platform 125 by using on board sensors . A large ALL STOP
   In some embodiments, a user may be able to control the button 905 can be pushed to immediately cut power to all
inclinable access structure 110 and / or the multi-position end systems , which will arrest the motion of the system and
breaching platform 125 to reach a desired height by using a 10 maintain   its position for safety.
controller. For example, a user may input or select aa desired        The preset mode can be selected by pressing the MODE
height for vehicle -mounted access system 100 (e.g. , the           PRESETS button 906. When in preset mode , the graphical
distal end of the multi -position end breaching platform 125 ) ,    user interface 900 displays a scrollable list of preset system
and the vehicle -mounted elevated access system 100 may
deploy itself to the desired height. For example, the con- 15 heights from 3 meters ( m ) to 9 m in 0.25 m increments. The
troller 135 may have a look -up table of values comparing           preset system heights correspond to the height of the overall
movement of the actuators 140 to the overall height of the distal end . While holding down the ARM button (when
elevated access system 100. And , in some embodiments, the present ), a user presses and release one of the preset height
controller 135 may store heights of various entry points, etc. , buttons, at which time the graphical user interface 900 will
such as the height of a particular aircraft door above the 20 display a " deploying to preset” message and will begin to
ground. In such an embodiment, a user may select which drive system to the preset height. If at any time , the user
door of an aircraft the elevated access system 100 is desired releases the ARM button during deployment to the preset
to reach, and by using the software look -up table and stored height, the control logic will automatically halt all system
information relating to the height of the selected aircraft motion . Once the desired height has been reached, as
door, the elevated access system 100 may deploy the inclin- 25 determined by on -board sensors , the controller will auto
                                                                                                        .

able access structure 110 and the multi -position end breach- matically halt all motion and maintain the position (or
ing platform 125 to substantially the correct height to reach configuration ) of the vehicle -mounted elevated access sys
the selected aircraft door.                                      tem 100. Any configuration ( e.g. , height) can be stored ( e.g. ,
   FIG . 9 illustrates a graphical user interface 900 for permanently stored) in the controller for quick recall by
communicating with the controller according to an embodi- 30 pressing a SAVE CONFIGURATION button . The stored
ment of the present invention .                                  configuration may then be named by a user, such as “ West
  Referring to FIG . 9 , the graphical user interface 900           Wing — 2nd Store Balcony ” .
communicates with the controller on the vehicle -mounted              The video streaming mode can be selected by pressing the
elevated access system 100 to control the operation of the          VIEW VIDEO STREAM button . When the VIEW VIDEO
system . The graphical user interface 900 may operate on a 35 STREAM button is selected, the device wirelessly streams
suitable device using touchscreen input methods, such as live high definition ( HD ) video from Ethernet cameras
mobile devices including mobile phones, tablets , etc. The mounted to the vehicle -mounted elevated access system .
graphical user interface 900 is compatible with multiple During video streaming, a return arrow in corner of the
touch enabled operating systems including, but not limited screen allows user to return to the most recent control
to : macOS , iOS , Android , Windows. The graphical user 40 screen .
interface 900 may communicate with the controller of the             FIG . 10 illustrates another screen of the graphical user
vehicle -mounted elevated access system 100 via a cellular interface (UI) 900 in an aircraft mode according to an
connection , a WiFi connection by using in - vehicle WiFi embodiment of the present invention .
hotspot (e.g. , a local - area WiFi network ), or Bluetooth . Over   When in the aircraft mode , the graphical user interface
the Air (OTA ) updates are available for software running on 45 900 displays a drop down “ Aircraft Selection Menu .” The
device that have an internet connection . The graphical user “ Aircraft Selection Menu ” provides a user with a list of
interface 900 may incorporate programmed logic with feed- commercial aircraft to choose from , such as the Airbus
back from sensors and switches to prevent mechanical A380 , the Boeing 777 , the Boeing 747 , etc. Upon selection
interference between mechanisms, such that, for example of an aircraft, aa side view of that aircraft (with identification
the multi - position end breaching platform 125 does not 50 label ) is displayed on the screen with each fuselage door
extend unless the inclinable access structure 110 is raised to represented as an easily visible button . While holding down
or above 1 degree ). In some embodiments, the touchscreen the ARM button (when present ), a user presses and releases
controls are useable by operators in touch - enabled gloves . one of the fuselage door buttons, at which time the UI
    In various embodiments, graphical user interface 900 can displays a “ Deploying to Preset” message and begins to
operate in different control modes , including, but not limited 55 drive the vehicle -mounted elevated access system 100 into
to , manual control mode, preset mode , aircraft mode , and a configuration corresponding to the selected door preset.
video streaming mode . The manual control mode can be Fuselage door configuration settings may be pre -calibrated
selected by pressing the MODE MANUAL button 901 . to aircraft manufacturer specifications. If at any time , the
When in manual control mode, individual touch sensitive user releases the ARM button during deployment to preset,
actuation buttons 902 , when held down, control the exten- 60 the control logic will automatically halt all system motion .
sion and retraction of various mechanisms and actuators . In        Once a preset configuration has been reached, the corre
some embodiments, the graphical user interface 900 may              sponding fuselage door remains highlighted until aa different
include an ARM button . In such an embodiment, to move the configuration is selected . The user can select a desired height
inclinable access structure 110 and / or the multi-position end for the distal end of the inclinable access structure 110
breaching platform 125 , the user may be to hold down the 65 and / or the multi-position end breaching platform 125 by
ARM button along with any actuation button 902 to execute selecting a window on the side view of the displayed
the selected actuation command to prevent or reduce the             aircraft . The height of the window corresponds to the height
                                                       US 11,174,677 B2
                           11                                                                         12
of the inclinable access structure 110 and / or the multi-               otherwise . It will be further understood that the terms
position end breaching platform 125 .                             “ includes," " including , " " comprises, " and /or " comprising,"
   It will be understood that when an element or layer is when used in this specification, specify the presence of
referred to as being “ on , ” “ connected to ,” or “ coupled to ” stated features , integers, steps, operations, elements, and / or
another element or layer, it may be directly on , connected , 5 components but do not preclude the presence or addition of
or coupled to the other element or layer or one or more one or more other features, integers, steps, operations,
intervening elements or layers may also be present. When an elements, components , and/ or groups thereof.
element or layer is referred to as being “ directly on , ”           Also , any numerical range disclosed and /or recited herein
“ directly connected to , ” or “ directly coupled to ” another is intended to include all sub - ranges of the same numerical
element or layer, there are no intervening elements or layers 10 precision subsumed within the recited range . For example, a
present. For example, when a first element is described as range of “ 1.0 to 10.0 ” is intended to include all subranges
being " coupled ” or “ connected ” to a second element, the between ( and including ) the recited minimum value of 1.0
first element may be directly coupled or connected to the and the recited maximum value of 10.0 , that is , having a
second element or the first element may be indirectly minimum value equal to or greater than 1.0 and aa maximum
coupled or connected to the second element via one or more 15 value equal to or less than 10.0 , such as , for example, 2.4 to
intervening elements .                                           7.6 . Any maximum numerical limitation recited herein is
   The same reference numerals designate the same ele- intended to include all lower numerical limitations sub
ments. As used herein , the term “ and /or” includes any and all sumed therein , and any minimum numerical limitation
combinations of one or more of the associated listed items.              recited in this specification is intended to include all higher
Further, the use of “may ” when describing embodiments of 20 numerical limitations subsumed therein. Accordingly, Appli
the present invention relates to " one or more embodiments cant reserves the right to amend this specification, including
of the present invention .” Expressions, such as “ at least one the claims , to expressly recite any sub -range subsumed
of , ” when preceding a list of elements, modify the entire list within the ranges expressly recited herein . All such ranges
of elements and do not modify the individual elements of the are intended to be inherently described in this specification
list . Also , the term “ exemplary” is intended to refer to an 25 such that amending to expressly recite any such sub - ranges
example or illustration. As used herein , the terms “ use," would comply with the requirements of 35 U.S.C. § 112 (a )
                                                                 >



“ using ,” and “ used ” may be considered synonymous with and 35 U.S.C. § 132 (a ).
the terms " utilize , " " utilizing," and " utilized ,” respectively .   Although example embodiments of the vehicle -mounted
As used herein , the terms “ substantially ,” “ about,” and elevated access system have been described and illustrated
                                                >


similar terms are used as terms of approximation and not as 30 herein, many modifications and variations within those
terms of degree , and are intended to account for the inherent embodiments will be apparent to those skilled in the art.
variations in measured or calculated values that would be Accordingly, it is to be understood that the vehicle -mounted
recognized by those of ordinary skill in the art.                      elevated access system according to the present invention
   It will be understood that, although the terms first, second, may be embodied in forms other than as described herein
third, etc. may be used herein to describe various elements, 35 without departing from the spirit and scope of the present
components, regions, layers, and / or sections , these elements , invention . The present invention is defined by the following
components, regions , layers , and / or sections should not be claims and equivalents thereof.
limited by these terms. These terms are used to distinguish       What is claimed is :
one element, component, region, layer, or section from            1. A vehicle -mounted access system comprising:
another element, component, region , layer, or section . Thus, 40 a fixed base structure comprising a plurality of track
a first element, component, region, layer, or section dis-                    channels ;
cussed below could be termed a second element, component,                  a plurality of movable hinge carriages respectively on and
region , layer, or section without departing from the teach-                  configured to move along the plurality of track chan
ings of example embodiments . In the figures , dimensions of                  nels;
the various elements , layers, etc. may be exaggerated for 45              an inclinable access structure having a proximal end and
clarity of illustration .                                                     a distal end, the proximal end of the inclinable access
   Spatially relative terms, such as “ beneath ,” “ below , "                 structure being pivotably connected to the plurality of
“ lower,” “ above , ” “ upper, " and the like , may be used herein            movable hinge carriages ;
for ease of description to describe one element or feature's               a lifting mast having a proximal end and aa distal end, the
relationship to another element ( s) or feature ( s) as illustrated 50        distal end of the lifting mast being connected to the
in the figures. It will be understood that the spatially relative            distal end of the inclinable access structure by forward
terms are intended to encompass different orientations of the                tension elements and being connected to the fixed base
device in use or operation in addition to the orientation                    structure by rear tension elements , the proximal end of
depicted in the figures. For example, if the device in the                   the lifting mast being pivotably connected to the fixed
figures is turned over, elements described as “ below ” or 55                base structure ; and
“ beneath ” other elements or features would then be oriented              an actuator connected between the movable hinge car
“ above” or “ over ” the other elements or features. Thus, the               riages and the fixed base structure, the actuator being
term “ below ” may encompass both an orientation of above                    configured to move the movable hinge carriages to
and below . The device may be otherwise oriented ( rotated 90                raise the distal end of the inclinable access structure via
degrees or at other orientations ), and the spatially relative 60    the forward tension elements, the lifting mast , and the
descriptors used herein should be interpreted accordingly.           rear tension elements.
   The terminology used herein is for the purpose of describ-     2. The vehicle -mounted access system of claim 1 , further
ing particular example embodiments of the present invention comprising an inclinable access handrail positioned along to
and is not intended to be limiting of the described example and pivotably attached to the inclinable access structure .
embodiments of the present invention . As used herein , the 65 3. The vehicle -mounted access system of claim 2 , wherein
singular forms “ a” and “ an ” are intended to include the the inclinable access handrail is configured to extend into a
plural forms as well , unless the context clearly indicates deployed position by a plurality of linkages.
                                                    US 11,174,677 B2
                              13                                                                  14
   4. The vehicle -mounted access system of claim 1 , further          a manual mode ;
comprising a multi -position end breaching platform that is            a preset mode;
pivotably connected to the distal end of the inclinable access         a video streaming mode ; and
structure .                                                            an aircraft mode .
   5. The vehicle -mounted access system of claim 4 , further 5       14. The vehicle -mounted access system of claim 13 ,
comprising a platform handrail positioned along and pivot          wherein the preset mode is configured to allow aa selection of
ably attached to the multi-position end breaching platform .
   6. The vehicle -mounted access system of claim 5 , wherein pre      - programmed heights of the distal end of the inclinable
                                                                   access structure .
the platform handrail is configured to extend into a deployed         15. The vehicle -mounted access system of claim 13 ,
position by an action of a multilink kinematic mechanism . 10 wherein
   7. The vehicle -mounted access system of claim 4 , further displays, an     in the aircraft mode , the touchscreen user interface
                                                                                  aircraft,
comprising a plurality of secondary actuators connected               wherein , in the aircraft mode, the controller is configured
between the distal end of the inclinable access structure and                                          2

                                                                          to allow for aa selection of a pre -programmed height of
the multi-position end breaching platform .                               the distal end of the inclinable access structure by
   8. The vehicle -mounted access system of claim 7 , wherein 15          selecting a window on the displayed aircraft.
the secondary actuators are configured to extend to pivot the         16. The vehicle -mounted access system of claim 1 ,
multi- position end breaching platform relative to the wherein                the actuator is configured to pull the movable hinge
inclined access structure and to transition a surface of the
multi - position end breaching platform into aa series of stairs . carriages
                                                                   inclinable
                                                                                toward the actuator to raise the distal end of the
                                                                                 access structure .
   9. The vehicle -mounted access system of claim 1 , wherein 20
the inclinable access structure further comprises a ramp .            17. A method for deploying the vehicle -mounted access
   10. The vehicle -mounted access system of claim 1 , system according                   to claim 1 by using a touchscreen user
wherein the inclinable access structure further comprises a interface         , the method comprising:
                                                                      displaying , by the touchscreen user interface, an image of
plurality of stairs .                                                     an aircraft;
   11. The vehicle -mounted access system of claim 10 , 25
wherein the plurality of stairs are configured to remain              transmitting  , by the touchscreen user interface, a prepro
passively parallel to the ground.                                         grammed height selected by a user by selecting a
   12. The vehicle -mounted access system of claim 1 , further            window on the image of the aircraft to a controller of
comprising a controller configured to control movement of                 the vehicle -mounted access system ; and
the actuator.                                                   30   raising , by the controller, a distal end of an inclinable
  13. The vehicle -mounted access system of claim 12 ,                   access structure connected to the vehicle -mounted
wherein the controller is operated by a touchscreen user                 access system to the preprogrammed height.
interface comprising:
EXHIBIT I
EXHIBIT J
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                                                         AGREEMENT

                    This Agreement (“Agreement”) is entered into as of the 21st day of June 2022
            (Effective Date”), by and between Joshua Clemente, (“Joshua”), having an address at 1129
            Denfield St., Unit B, Austin, TX 78721, Timothy Clemente, (“Timothy”), having an address at
            150 Rustic Road, Fredericksburg, Virginia 22405, F2E Holdings LLC having an address at 4094
            Majestic Lane, Suite 355, Fairfax, VA 22033 (“F2E”), and Mission Integrated Technologies,
            LLC, (“Company”), having an address at 1934 Old Gallows Rd., Suite 402, Vienna, VA 22182
            (each a “Party” and, collectively, “Parties”).




                                 Exhibit 1
                                     (IP Assignment)
                            INTELLECTUAL PROPERTY ASSIGNMENT AGREEMENT

                   This Intellectual Property Assignment Agreement (“IP Assignment”) is made
            pursuant and entered into as of the date of the last signature set forth below, between Joshua
            Clemente, an individual having an address at 1129 Denfield St., Unit B, Austin, TX 78721
            (“Assignor”) and Mission Integrated Technologies, LLC, a Delaware limited liability
            company having its principal place of business at 1934 Old Gallows Road, Suite 402, Vienna,
            Virginia 22182 (“Assignee”) (each a “Party” and collectively, the “Parties”).

                                                             RECITALS

                    WHEREAS, Assignor states, represents, and warrants that he is the sole and exclusive
            title owner of all rights, title, and interest in and to the intellectual property set forth in Exhibit
            A hereto (collectively, the “IP”);

                    NOW, THEREFORE, for $10.00 and other good and valuable consideration,
            in consideration of the mutual covenants, terms, and conditions set forth in this Agreement, and
            for other good and valuable consideration, the receipt and sufficiency of all of which is fully
            and hereby acknowledged:

                   1. Assignment. Assignor irrevocably conveys, transfers, and assigns to Assignee,
            and Assignee accepts, all of Assignor’s rights, title, and interest in and to the following:

                            (a) The IP set forth in Exhibit A hereto, including pending applications and
            all issuances, extensions, and renewals thereof, together with the goodwill of the business
            connected with the use thereof, and symbolized thereby;
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                           (b) All rights of any kind whatsoever of Assignor accruing under any of
            the foregoing provided by applicable law of any jurisdiction, by international treaties and
            conventions, and otherwise throughout the world;

                           (c) Any and all royalties, fees, income, payments, and other proceeds now
            or hereafter due or payable with respect to any and all of the foregoing; and

                           (d) Any and all claims and causes of actions with respect to any of the foregoing,
            whether accruing before, on, or after the date hereof, including all rights and claims for damages,
            restitution, and injunctive and other legal and equitable relief for past, present, and
            future infringement, dilution, misappropriation, violation, misuse, breach, or default with the
            right but no obligation to sue for such legal and equitable relief and to collect, or otherwise
            recover, any such damages.

                             (e) All patents, rights to inventions, copyright and related rights,
            trademarks, business names and domain names, rights in get-up, goodwill, and the right to sue
            for passing off, rights in designs, database rights, rights to use, and protect the confidentiality
            of, confidential information (including know-how) and all other intellectual property rights,
            including moral rights, if any, in each case whether registered or unregistered and including all
            applications and rights to apply for and be granted, renewals or extensions of, and rights to
            claim priority from, such rights and all similar or equivalent rights or forms of protection which
            subsist or will subsist now or in the future in any part of the world.

                    2. Recordation and Further Actions. Assignor hereby authorizes the United States Patent
            and Trademark Office and the officials of corresponding entities or agencies in any applicable
            jurisdiction to record and register this IP Assignment upon request by Assignee. Following the
            date hereof upon Assignee’s reasonable request and at Assignee’s sole cost and expense,
            Assignor shall take such steps and actions, and provide such cooperation and assistance to
            Assignee and its successors, assigns, and legal representatives, including the execution
            and delivery of any affidavits, declarations, oaths, exhibits, assignments, powers of attorney, or
            other documents, as may be reasonably necessary to effect, evidence, or perfect Assignee’s
            rights to the IP as provided hereunder.

                     3. Representation and Warranties.

                             (a) Mutual. Each Party represents and warrants to the other that: (i) if an entity, it
            is duly organized, validly existing, and in good standing under the laws of its jurisdiction
            of incorporation or organization; and if a natural person, he/she is over the age of eighteen or
            is otherwise sui juris, and he/she is competent to enter into and be bound by this IP Assignment;
            (ii) it has the full right, power, and authority to enter into this IP Assignment and to perform
            its obligations hereunder; (iii) if an entity, the execution of this IP Assignment by its
            representative whose signature is set forth at the end hereof has been duly authorized by all
            necessary actions; and (iv) when executed and delivered by the other Party, this IP Assignment
            shall constitute the legal, valid, and binding obligation of the first Party, enforceable against
            such Party in accordance with its terms.
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                             (b) By Assignor. The Assignor represents and warrants to Assignee that: (i) he is
            the record owner of the IP set forth in Exhibit A, and all registrations issued in
            connection therewith are valid, subsisting, and in full force and effect; (ii) he has not granted
            and will not grant any licenses, liens, security interests, or other encumbrances in, to, or under,
            the IP; (iii) the use of the IP and the exercise by Assignee of the rights granted under this IP
            Assignment will not infringe or otherwise conflict with the rights of any other Person; (iv) there
            is no settled, pending, or, to its knowledge, threatened litigation, opposition, or other claim or
            proceeding challenging the validity, enforceability, ownership, registration, or use of any IP;
            (v) he has not brought or threatened any claim against any third party alleging infringement of
            any IP, nor, to its knowledge, there is no third party infringing or threatening to infringe any IP;
            and (vi) the Assignor warrants and represents that he has not filed any other patent applications
            related to this patent with the USPTO, and to the extent that he has, he grants a power of attorney
            to Assignee or any of its officers or designees to convey and transfer any other applications
            and/or registrations.

                    4. Miscellaneous
                            (a) Governing Law; Venue; Jurisdiction. This IP Assignment shall be
            governed and enforced in accordance with Delaware law, regardless of any conflict of law rules.
            Exclusive venue and jurisdiction for any dispute relating to this IP Assignment, the transactions
            contemplated hereby, and the relationship of the Parties hereto, shall be in the state and federal
            courts located in, or for, Fairfax County, Virginia, and each Party submits to the jurisdiction of
            said courts, consents to the laying of venue therein, and waives any objection or contest thereto.

                            (b) Interpretation. In this IP Assignment, each gender and number shall
            include all genders and numbers, as the context requires. Headings are for convenience only and
            do not affect interpretation. This IP Assignment shall be deemed to have been jointly drafted,
            and ambiguities in this IP Assignment shall not be resolved against the Party primarily
            responsible for its drafting.

                           (c) Entire Agreement; Amendment; Waivers. This IP Assignment, together
            with any exhibits and attachments hereto, constitutes the entire agreement of the Parties
            regarding the subject matter hereof, is fully integrated, and supersedes all prior and
            contemporaneous understandings, written or oral, regarding said subject matter. The terms of
            this IP Assignment may not be amended, and the rights and obligations of the Parties hereunder
            may not be waived, except in writing signed by both Parties. Any such written waiver shall be
            valid only for the specific right and in the specific circumstances set forth in writing in the
            waiver.

                            (d) Third-Parties. This IP Assignment is intended to benefit only the
            Parties hereto, and each of their respective successors and permitted assigns.

                      (e) WAIVER OF JURY TRIAL. EACH PARTY IRREVOCABLY
            AND KNOWINGLY WAIVES ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN
            ANY PROCEEDINGS ARISING OUT OF, OR IN CONNECTION WITH, THIS IP
            ASSIGNMENT, THE TRANSACTIONS CONTEMPLATED HEREUNDER, OR THE
            RELATIONSHIP OF THE PARTIES HERETO.
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                           (f) Counterparts. This IP Assignment may be executed in counterparts, each
            of which shall be deemed an original, but all of which together shall be deemed one and the
            same agreement. A signed copy of this IP Assignment delivered by electronic transmission shall
            be deemed to have the same legal effect as delivery of an original signed copy of this IP
            Assignment.

                            (g) Reimbursement of Out-of-Pocket Expenses for Legal Fees and Software
            Development Cost. Joshua represents that he has incurred up to $40,000 in costs on behalf of
            the Company, comprising up to $30,000 paid for software and electronics development by “21 st
            Century Group”, with offices located at 11438 Cronridge Dr., Owings Mills, MD 21117
            in connection with ARES system, as well as an additional up to $10,000 for legal and filing fees
            in connection with the Patent. Upon providing receipts to the Company and such other
            documentation/evidence as is required by F2E and the Company for said expenses, the Company
            shall proportionally reimburse Joshua for said expenses at the time of LLC distributions, subject
            to any limitations in, and in accordance with, the Operating Agreement of the Company.

                                              [SIGNATURE PAGE FOLLOWS]
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                  IN WITNESS WHEREOF, the Parties have caused this IP Assignment to
            become effective as of the date of the last signature set forth below.


            ASSIGNOR:

            JOSHUA CLEMENTE

            By:____________________________
              Joshua Clemente



            ASSIGNEE:

            MISSION INTEGRATED TECHNOLOGIES, LLC

            By:___________________________________
                Timothy Clemente
                Manager/President
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                                                             EXHIBIT A

                IP              IP Specimen               USPTO          Application Filing   Registration
               Type            or Description            Serial/Reg.           Date              Date
                                                          Number

              Patent           ARES Patent               Patent No.         11-19-2019        11-16-2021
                                                         11,174,677
                                                             B2
